     Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18               Page 1 of 98 PageID 1


                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

SOUTHWEST AIRLINES CO.,

        Plaintiff,
                                                    Civil Action No:______________________
v.
                                                               Jury Trial Demanded
ROUNDPIPE, LLC, CHASE ROBERTS, AND PAVEL
YUREVICH,

        Defendants.


                                   ORIGINAL COMPLAINT

        Plaintiff Southwest Airlines Co. (“Southwest”) files this complaint in order to protect its

valuable property and online distribution system from the unauthorized activities of Defendants

Roundpipe, LLC, Chase Roberts, and Pavel Yurevich (collectively, “Defendants”) which have

operated a website “Southwest Monkey”. Based upon actual knowledge with respect to itself and

its own acts, and upon information and belief as to other persons and matters, Southwest alleges

as follows:

                                    NATURE OF THE ACTION

        1.      Southwest seeks injunctive relief and monetary damages against Defendants

based on their unauthorized use of Southwest's website in connection with Defendants’ operation

of a business in which they, without Southwest's permission, use automated tools to improperly

obtain online fare data. Defendants’ unlawful activities include breach of contract, Unfair

Competition in Violation of 15 U.S.C. § 1125(A), Dilution of a Famous Mark, Tarnishment of a

Famous Mark, violation of the Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C. §

1030(a)(2)(C), and violation of Texas Penal Code § 33.02. As a result, Southwest has suffered, is
   Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                 Page 2 of 98 PageID 2


suffering, and unless permanent relief is entered by this court, ongoing harm due to Defendants’

conduct alleged herein.

                                            PARTIES

         2.    Plaintiff Southwest Airlines Co. is a Texas corporation with its principal place of

business in this District, at 2702 Love Field Drive, Dallas, Texas 75235.

         3.    Upon information and belief, Roundpipe is a Utah limited liability company with

its principal place of business in Salt Lake City, Utah. Its sole member is Chase Roberts, an

individual residing in Salt Lake City, Utah. It may be served with process by serving its

registered agent Wasatch-IP at 2835 E. Cottonwood Parkway, Suite 500, Salt Lake City, UT

84121.

         4.    Defendant Chase Roberts is a resident of the State of Utah, whose current place of

residence is 268 H Street Salt Lake City, UT 84103.

         5.    Defendant Pavel Yurevich is a resident of the State of Washington, whose current

place of residence is 8808 Redmond Woodinville Rd NE Apt C202, Redmond, WA 98052-7614.

                                         JURISDICTION

         6.    This Court has subject matter jurisdiction over the federal statutory claim in this

action pursuant to 28 U.S.C. § 1331.

         7.    This Court also has subject matter jurisdiction over the claims in this action

pursuant to 28 U.S.C. § 1332 because there is complete diversity between the parties and the

amount in controversy exceeds $75,000.

         8.    This Court has supplemental jurisdiction over the claims in this Complaint that

arise under the laws of the State of Texas pursuant to 28 U.S.C. § 1367(a), because the state law




Original Complaint                                                                          Page 2
   Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                  Page 3 of 98 PageID 3


claims are so related to the federal claims that they form a part of the same case or controversy

and derive from a common nucleus of operative facts.

       9.        This Court has personal jurisdiction over Roundpipe because it is a foreign or

domestic corporation that committed torts in this District, breached a contract entered into in this

District, violated Texas statutory law in this District. Roundpipe knew that serious harmful

effects from its conduct would occur in this District.

       10.       This Court has personal jurisdiction over Chase Roberts because he is a Utah

resident who has intentionally committed acts that were aimed to breach a contract and cause

tortious injury within this District. The injuries that Chase Roberts inflicts on Southwest as a

result of his unlawful conduct are felt in this District, and he knew that serious harmful effects

from his conduct would occur here.

       11.       This Court has personal jurisdiction over Pavel Yurevich because he is a

Washington resident who has intentionally committed acts that were aimed to breach a contract

and cause tortious injury within this District. The injuries Pavel Yurevich inflicts on Southwest

as a result of his lawful conduct are felt within this District, and he knew that serious harmful

effects from his conduct would occur here.

       12.       Upon information and belief, Defendants have purposefully availed themselves to

the forum by entering into one or more contracts with residents of the State of Texas, knowing

that it would receive commercial gain through such contracts.

       13.       Upon information and belief, Defendants knew that the injury from its unlawful

acts would be felt primarily by Southwest in this District, where Southwest is incorporated and

headquartered.




Original Complaint                                                                           Page 3
     Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                  Page 4 of 98 PageID 4


        14.      Moreover, in order to perpetrate the wrongful acts alleged in this complaint,

Defendants regularly accessed Southwest’s computer servers and websites, many of which are

located in this District.

        15.      Through its website at www.southwest.com, (the “Southwest Website”),

Southwest includes the Terms and Conditions that govern the use of, and access to, the

Southwest Website which requires Defendants to submit to the jurisdiction of the courts within

Dallas, Texas.

                                                VENUE

        16.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391. The claims asserted in

this action arose in this District and a substantial part of the activities, conduct, and damages

have occurred in Texas.

        17.      Venue is also proper in this Court because Defendants directed commercial

activity to residents of Texas, including residents of this District.

                               FACTS GIVING RISE TO THIS ACTION

A.      Southwest’s Operations and Valuable Famous Trademarks

        18.      Southwest prides itself on being the nation’s largest domestic air carrier by

providing its customers with low fares and legendary hospitality. Since its creation in 1971,

Southwest has grown from an intrastate airline operating within Texas to the nation’s largest

domestic air carrier that operates over 4,000 flights per day and enplanes more than 152 million

passengers per year

        19.      Southwest is headquartered in Dallas and conducts substantial business operations

throughout the state of Texas.




Original Complaint                                                                           Page 4
      Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                  Page 5 of 98 PageID 5


           20.       In the highly competitive airline industry, Southwest has been successful, due in

large measure to Southwest’s commitment to customer service and consumer loyalty. In the

more than forty years that Southwest has been offering air transportation services, it has

developed a substantial amount of goodwill with its customers.

           21.      Through Southwest’s long and successful efforts, Southwest’s registered trade

and service marks have earned extensive goodwill, favorable recognition, and an international

reputation for high-quality products and services.

           22.      Southwest offers and sells its goods and services under and in conjunction with,

among others, the following SOUTHWEST and SWA-related trademark and service mark

registrations in the United States (collectively, the “SOUTHWEST Marks”):

                                                                                         Registration
    Reg. No.1                              Mark                    Registration Date
                                                                                          Certificate

1,738,670*          SOUTHWEST AIRLINES                            December 8, 1992        Exhibit A

3,129,737*          SOUTHWEST                                     August 15, 2006         Exhibit B

4,670,508           SOUTHWEST CARGO                               January 13, 2015        Exhibit C

2,313,710*          SWA                                           February 1, 2000        Exhibit D

4,024,786*          SOUTHWEST AIRLINES CARGO                      September 13, 2011      Exhibit E

3,011,430*          SWABIZ                                        November 1, 2005        Exhibit F

4,537,010           SWABIZ MEETINGS                               May 27, 2014            Exhibit G

4,033,508*          SWACARGO.COM                                  October 4, 2011         Exhibit H

2,623,807*          SOUTHWEST.COM                                 September 24, 2002       Exhibit I

4,331,036           SOUTHWEST VACATIONS                           May 7, 2013              Exhibit J



1
    Registrations denoted with an “*” are incontestable.


Original Complaint                                                                              Page 5
   Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                Page 6 of 98 PageID 6



                                                                                     Registration
 Reg. No.1                        Mark                         Registration Date
                                                                                      Certificate


4,770,643
                                                              July 7, 2015            Exhibit K



4,720,322                                                     April 14, 2015          Exhibit L



5,149,729                                                     February 28, 2017       Exhibit M



       23.     These registrations, many of which issued on the Principal Register, are in full

force and effect.

       24.     The validity of several registrations is incontestable pursuant to 15 U.S.C. § 1065

as they have been registered and in continuous use for more than five years. As such, Southwest

is the undeniable owner of the registered marks with the exclusive right to use the marks with the

registered goods and services.

       25.     The SOUTHWEST Marks serve as unique and famous source identifiers for

Southwest and its various goods and services.

       26.     Southwest has invested millions of dollars in advertising and marketing to build

the fame, reputation, and goodwill of the SOUTHWEST Marks, both in the United States and

internationally. Southwest advertises through a variety of media, including the Internet,

television, radio, newspapers, magazines, and direct mail.

       27.     Through Southwest's longstanding use and promotional activities related to the

SOUTHWEST Marks, and due to the widespread and favorable public acceptance and




Original Complaint                                                                          Page 6
   Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                Page 7 of 98 PageID 7


recognition of those marks, the SOUTHWEST Marks have become a unique distinctive

designation of the source of origin of Southwest's goods and services.

       28.     The SOUTHWEST Marks are assets of incalculable value as symbols of its high-

quality goods and services, and its goodwill.

       29.     By virtue of its extensive use and promotion over the years, the SOUTHWEST

Marks have developed valuable distinctiveness and secondary meaning in the marketplace.

These Marks have attained a significant and lasting presence in the marketplace, causing the

Marks to achieve high recognition and value among consumers.

       30.     Other than Southwest and its authorized affiliates, licensees, and partners, no one

is permitted to use any of the SOUTHWEST Marks for commercial gain.

       31.     Defendants are not authorized to use any of the SOUTHWEST Marks.

       32.     On November 8, 2017, Southwest contacted the Defendants about their website’s

improper usage of the SOUTHWEST Marks. See Exhibit N. An example of such improper

usage is shown below:




       33.     Despite such notice, the unauthorized usage of the marks continues to occur on

the Defendants’ website, as shown below:




Original Complaint                                                                          Page 7
     Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18               Page 8 of 98 PageID 8




B.      Southwest’s Online Customer Service

        34.    Southwest has developed and maintains a privately-owned computer system

located in this District, which includes the Southwest Website and numerous supporting servers,

databases, routers, networks, bandwidth, cabling, appliances, switches, filers and firewalls

(collectively referred to as “Southwest Systems”). Through the Southwest Website, Southwest

provides fare, route, schedule, and availability data to its actual and potential customers in an

interactive format. Southwest has invested substantial time and money in developing, compiling

and maintaining its proprietary computer system and website.

        35.    To preserve its standards of customer service, reputation, and goodwill,

Southwest maintains the exclusive online distribution rights to sell Southwest flights or ancillary

service to the general public through the Southwest Website.

C.      Southwest and the Terms & Conditions Governing Its Web site

        36.    Southwest makes its websites and the proprietary contents available for

consumers’ use subject to certain terms and conditions of use that make it clear that the systems

and data displayed thereon is proprietary and owned by Southwest (the “Use Agreement”). See




Original Complaint                                                                           Page 8
   Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                  Page 9 of 98 PageID 9


Exhibit O. The Use Agreement is referenced by interactive link on each page of the Southwest

Websites.

       37.      The home page of the Southwest.com website as well as the Use Agreement

conspicuously state that use of the website constitutes acceptance of Southwest’s Use

Agreement. Through the completion of a flight purchase on the Southwest Website, the Use

Agreement is also referenced on every website page shown to Southwest customers as they

search, select, and purchase flights on the Southwest Website. See Exhibit P.

       38.      In the Preamble, the Use Agreement defines “Service” as “the information,

features, content, and services that we own, control, or make available through

[www.southwest.com, www.swabiz.com, and any other websites, mobile and other applications,

or services that post a link to these Terms].”

       39.      Under the section entitled “Ownership of Company Information,” the Use

Agreement further defines “Company Information” as:

       Information and materials concerning Southwest and its products and services,
       and similar items from our licensors and other third parties, including flight
       schedules, routes, fares, text, graphics, button icons, layout, databases, articles,
       posts, text, data, files, images, scripts, designs, instructions, illustrations,
       photographs, sounds, pictures, advertising copy, URLs, technology, software,
       interactive features, the “look and feel” of the Sites, audio and video clips, digital
       downloads, data compilations (including customer and Rapid Rewards®
       information), the compilation, assembly, and arrangement of the materials of the
       Sites, all copyrightable materials, trademarks, logos, trade names, trade dress,
       service marks, and trade identities of various parties, including those of
       Southwest, and other forms of intellectual property, and information regarding the
       status of Southwest flights, etc. ….

       40.      Southwest does not permit page-scraping or automated tools to access or monitor

any portion of the Southwest Website, its content, and/or its underlying fare databases. Any

page-scraping of the Southwest Website, its content, and/or its underlying fare database is

unauthorized.



Original Complaint                                                                              Page 9
 Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                  Page 10 of 98 PageID 10


        41.     Under the section entitled “Restrictions and Prohibited Activities,” the Use

Agreement, in relevant parts, states that “You agree that you will not:”

                                               ***
        (ii)    use the Service or Company Information for any commercial purpose,
        with the exception of authorized Southwest travel agents/agencies;
                                               ***
         (v)    harvest any information from the Service;
                                               ***
         (viii) interfere with the proper operation of or any security measure used by the
        Service;
                                               ***
         (xiv) use any deep-link, page-scrape, robot, crawl, index, spider, click spam,
        macro programs, Internet agent, or other automatic device, program, algorithm or
        methodology which does the same things, to use, access, copy, acquire
        information, generate impressions or clicks, input information, store information,
        search, generate searches, or monitor any portion of the Service or Company
        information;

        (xv) use the Service in any way which depletes web infrastructural resources,
        slows the transferring or loading of any web page, or interferes with the normal
        operation of the Sites;

        (xvii) disguise the origin of information transmitted to, from, or through the
        Service;

        (xviii) circumvent any measures implemented by Southwest aimed at preventing
        violations of the Terms. You may not violate the restrictions in any robot
        exclusion header; or

        (xix)   otherwise violate these Terms or any applicable Additional Terms.

        42.     Under the section entitled “Forum Selection,” the Use Agreement further states in

clear bold text that:

        These Terms and the relationship between you and Southwest shall be governed
        by the laws of the State of Texas without regard to any conflict of law provisions.
        You agree to the personal and exclusive jurisdiction of the courts located within
        Dallas, TX. You hereby consent to the exclusive jurisdiction and venue of the
        State and Federal courts in Dallas, Texas in all disputes. You agree and
        understand that you will not bring against the Southwest Parties any class action
        lawsuit related to your access to, dealings with, or use of the Service.




Original Complaint                                                                            Page 10
 Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                  Page 11 of 98 PageID 11


       43.     Southwest’s opposition to scraping, or any unauthorized access of its websites is

well known, as it has pursued litigation to stop unauthorized access of the Southwest Website or

Southwest Systems in the past. See, e.g., Southwest Airlines Co. v. BoardFirst, L.L.C., No. 3:06-

CV-0891-B, 2007 WL 4823761 (N.D. Tex. Sept. 12, 2007) and Southwest Airlines Co. v.

Farechase, Inc., 318 F. Supp. 2d 435 (N.D. Tex. 2004).

D.     Defendants’ Wrongful Conduct

       44.     On or about November 6, 2017, Defendants launched a website called “Southwest

Monkey” at www.swmonkey.com that obtained Southwest’s proprietary data through use of

automated scraping devices to enter and search the Southwest Website and/or Southwest

Systems, and extract, at least, proprietary fare data.

       45.     Defendants enter and use the Southwest Website by engaging in and/or directing,

controlling, or procuring an activity commonly referred to as “page-scraping” or “crawling,” or

the use of a “robot” or “spider.”

       46.     Defendants described its scraping tool as a program designed to check

Southwest’s proprietary fare data on an automated basis and provide text message to customers

in the event of a decrease in fare price.

       47.     Defendants have advertised that their automated tools scrape proprietary fare data

from the Southwest Website and have provided their paid alerts to consumers upon payment of a

$3 fee if the fare price drops more than $10.

       48.     The imposition of additional fees causes damage to Southwest’s goodwill and

reputation by creating the false impressions that Southwest fares are not clear and transparent.




Original Complaint                                                                          Page 11
 Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                  Page 12 of 98 PageID 12


          49.   Defendants’ scraping activity causes substantial traffic through the Southwest

Website and Southwest System, all while Defendants have no intention of booking tickets for

travel.

          50.   Defendants’ activities and use of Southwest’s property data was intentional and

knowingly done without Southwest’s consent and in violation of the Use Agreement.

          51.   Southwest does not endorse or approve of Defendants’ products or services.

Defendants’ access and use of the Southwest Websites is without authorization and in violation

of the Use Agreement. Defendants, however, trade off Southwest’s goodwill, reputation and the

value of its services to the traveling public, likely giving Defendants’ customers or potential

customers the false impression that there is a business relationship between Southwest and

Defendants.

          52.   Defendants’ scraping of Southwest’s fare data also causes substantial harm to

Southwest’s business through loss of business opportunity. A customer who receives an alert

through Defendants’ website does not need to visit the Southwest website, and Southwest is

deprived of the additional opportunities to interact with potential and existing customers and sell

additional services or generate goodwill.

          53.   Southwest’s proprietary fares and its website resources have substantial

commercial value. Therefore, it is highly probable that—in the absence of an injunction

prohibiting Defendants’ unauthorized conduct—even more companies will target and use the

Southwest Websites for their own business purposes, without Southwest’s consent and to its

detriment.

          54.   On information and belief, soon after Defendants launched the “Southwest

Monkey” website, they also took affirmative steps to contact online travel bloggers in an attempt




Original Complaint                                                                          Page 12
 Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                   Page 13 of 98 PageID 13


to obtain media coverage. Through this process, Defendants became aware of the terms and

conditions in the Use Agreement that governs the Southwest Website.

       55.       Upon information and belief, as early as November 6, 2017, one travel blogger

informed the Defendants that Southwest did not approve of the operation of fare-scraping

websites and that it violated the Use Agreement. See Exhibit Q. (Deals We Like November 6

Blog Post).

       56.       Upon information and belief, the same blogger later noted that:

       “When I found out about this [Southwest Monkey] site, I actually told the founder
       that I would not promote it without his permission. I explained that similar sites
       have been shut down in the past, and told him that within a few days of me
       writing I can almost guarantee a cease and desist letter. The founder still wanted
       me to write about it regardless.”

See Exhibit R (Deals We Like - November 22 Blog Post).

       57.       Defendants admitted to having actual knowledge that a fare-scraping website like

Southwest Monkey would violate the Use Agreement. According to a media interview, Pavel

Yurevich had actual knowledge of a different fare-scraping website known as Dragon Fare that

had ceased operation after receipt of a cease and desist letter from Southwest but persisted

because “Maybe they [Dragon Fare Scanner] just got really intimidated by Southwest … [b]ut

we won’t.” See Exhibit S (December 1, 2017 Outline Article).

       58.       On November 10, 2017, Southwest sent a Cease and Desist informing Defendants

that “Southwest Monkey” violated the Use Agreement and demanded Defendants immediately

stop: “(1) extracting or scraping Southwest’s flight and fare information from its proprietary

servers and websites; and (2) publishing this information on the Southwest Monkey website,

through related web applications, or elsewhere.” See Exhibit T (November 10, 2017 Cease and

Desist Email).




Original Complaint                                                                          Page 13
 Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                     Page 14 of 98 PageID 14


       59.     Upon receipt of the November 10 letter, Defendants became fully aware of the

terms and conditions of Use Agreement and were bound the provisions therein. Despite receiving

the November 10 letter, Defendants continued operation of their fare-scraping tool that was

advertised through Southwest Monkey.

       60.     On November 15, 2017, Southwest sent a second Cease and Desist Letter

demanding that Defendants terminate the unlawful service immediately. See Exhibit U

(November 15, 2017 Cease and Desist Letter).

       61.     Defendants publically admitted to receiving this letter and further understood that

those terms and conditions, in the Use Agreement, explicitly prohibited the use of the automated

tools. See Exhibit V (Defendants’ November 16, 2017 Blog Post).

       62.     Upon receipt of the November 15 letter, Defendants became further aware of the

terms and conditions of Use Agreement and were bound the provisions therein. Despite receiving

the November 10 letter and November 15 letters, Defendants continued operation of their fare-

scraping tool that was advertised through Southwest Monkey.

       63.     In violation of the Use Agreement, Defendants did not cease the use of its

automated scraping tool until November 28, 2017. See Exhibit W (Defendants’ November 28,

2017 Blog Post).

       64.     Upon information and belief, Defendants intend to resume operation of the

automated scraping tool as third parties have reported that, “[Defendants] still really want to

make this work and will try to get something together that is not against Southwest’s terms.” See

Exhibit R (Deals We Like - November 22 Blog Post).

       65.     Upon information and belief Defendants intend to and will continue to market,

advertise, and sell its unauthorized fare checking service to residents in this District.




Original Complaint                                                                          Page 14
 Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                   Page 15 of 98 PageID 15


           66.   On or about November 24, 2017, Defendants modified the Southwest Monkey

website to include a notice to its website visitors about how to create a similar automated tool

program.

           67.   Southwest has spent considerable resources to find, detect, and block access to the

Southwest Website by the Defendants. Those resources have included and continue to include

the diversion of Southwest employees from their usual duties, along with costs paid to third

parties.

                                           COUNT I
                                      BREACH OF CONTRACT

           68.   Southwest repeats and realleges the allegations in the preceding paragraphs.

           69.   The Use Agreement is a valid and enforceable agreement binding on Defendants.

           70.   Defendants have used the Southwest Website and/or Southwest Systems.

           71.   Upon Defendants’ use of the Southwest Website and/or Southwest Systems,

Defendants agreed to be bound by the Use Agreement.

           72.   Defendants were further informed of the Use Agreement as early as November 6,

2017, but persisted in violating the Use Agreement.

           73.   Defendants have breached the Use Agreement.

           74.   For example, Defendants breached the Use Agreement by providing an

unauthorized automatic fare-checking service that accesses the Southwest Website and/or

Southwest System, and Defendants use an automatic fare-checking service for commercial

purposes and gain, without authorization by Southwest.

           75.   Southwest has been and will continue to be damaged as the result of Defendants’

breach of the Use Agreement.




Original Complaint                                                                           Page 15
 Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                  Page 16 of 98 PageID 16


       76.     In addition, Southwest has suffered and will continue to suffer irreparable harm

and its remedy at law is not itself adequate to compensate it for injuries inflicted by Defendants.

Accordingly, Southwest is entitled to injunctive relief and damages.



                                      COUNT II
                 UNFAIR COMPETITION IN VIOLATION OF 15 U.S.C. § 1125(A)

       77.     Southwest repeats and realleges the allegations in the preceding paragraphs.

       78.     Defendants’ intentional and unauthorized use in commerce of the SOUTHWEST

Marks is likely to cause confusion, mistake or deception among the consuming public as to the

source or origin of Defendants’ service and/or as to Southwest's affiliation with, endorsement of,

or sponsorship of Defendants’ services.

       79.     Defendants’ continued, unauthorized use of the well-known and famous

SOUTHWEST Marks has been done with intent to trade upon the goodwill and reputation of

Southwest. Accordingly, Defendants’ actions constitute willful infringement and unfair

competition in violation of Section 43(a) of the Trademark Act of 1946, 15 U.S.C. 1125(a).

       80.     As a result of the foregoing, Southwest has been damaged in an amount that will

be ascertained according to proof. In addition to Southwest's actual damages, Southwest is

entitled to receive Defendants’ profits pursuant to 15 U.S.C. § 1117(a). These actual damages

and profits should be enhanced because Defendants’ conduct described above is willful.

       81.     In addition, Southwest has suffered and will continue to suffer losses and

irreparable injury to its business reputation and goodwill. Defendants are likely to continue to

engage in activities in violation of 15 U.S.C. § 1125(a) and unless restrained and enjoined will

continue to do so, all to Southwest's irreparable injury. Southwest's remedy at law is not by itself




Original Complaint                                                                          Page 16
 Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                  Page 17 of 98 PageID 17


adequate to compensate it for the injuries inflicted and threatened by Defendants. Accordingly,

Southwest is entitled to injunctive relief pursuant to 15 U.S.C. § 1116(a).

       82.     Southwest is also entitled to recover its attorneys' fees and costs pursuant to

15U.S.C. § 1117.



                                         COUNT III
                                 DILUTION OF A FAMOUS MARK

       83.     Southwest repeats and realleges the allegations in the preceding paragraphs.

       84.     Defendants have and are engaged in acts constituting dilution in violation of

Section 43(c) of the Trademark Act of 1946, 15 U.S.C. § 1125(c).

       85.     Defendants have made commercial use of the SOUTHWEST Marks with the

willful intent to trade on Southwest's reputation and to cause dilution of those famous Marks.

       86.     Defendants’ use of the SOUTHWEST Marks began long after those marks and

names had become well-known and famous.

       87.     Defendants’ use of the SOUTHWEST Marks causes dilution of their distinctive

quality.

       88.     Defendants’ use of the SOUTHWEST Marks lessens their capacity to identify and

distinguish Southwest's goods, services, and customers.

       89.     Defendants have used the SOUTHWEST Marks with full knowledge of

Southwest's long prior rights in those Marks and the fame of those Marks.

       90.     Defendants’ use of the SOUTHWEST Marks represents a deliberate intent and

bad-faith purpose to trade upon the goodwill of those Marks and/or to dilute the distinctive

quality of those Marks, to blur and diminish the distinctive qualities of those Marks, and/or to

lessen those Marks' capacity to identify and distinguish the goods and services of Southwest.



Original Complaint                                                                         Page 17
 Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                 Page 18 of 98 PageID 18


       91.     Defendants’ activities complained of herein constitute dilution within the meaning

of Section 43(c) of the Trademark Act of 1946, 15 U.S.C. § 1125(c).

       92.     Defendants’ acts have irreparably damaged, impaired, and diluted Southwest's

goodwill and good name. Southwest has suffered and continues to suffer and incur irreparable

injury, loss of reputation, and pecuniary damages to be proved at trial. Unless enjoined by this

Court, Defendants will continue these acts, thereby causing Southwest further immediate and

irreparable damage.

                                       COUNT IV
                              TARNISHMENT OF A FAMOUS MARK

       93.     Southwest repeats and realleges the allegations in the preceding paragraphs

       94.     Defendants’ use of the SOUTHWEST Marks creates an undesirable,

unwholesome, and unsavory association with Southwest and its reputation.

       95.     Defendants’ use of the SOUTHWEST Marks is grossly inconsistent with the

image and goodwill cultivated by Southwest through and in relation to the use of the

SOUTHWEST Marks.

       96.     Defendants’ activities complained of herein constitute tarnishment, a special form

of dilution within the meaning of Section 43(c) of the Trademark Act of 1946, 15 U.S.C. § 1125(c).

       97.     As a result of Defendants’ acts, Southwest has suffered and continues to suffer

and incur irreparable, injury, loss of reputation, and pecuniary damages to be proved at trial.

Unless enjoined by this Court, Defendants will continue these acts, thereby causing Southwest

further immediate and irreparable damage.

                                    COUNT V
               COMPUTER FRAUD AND ABUSE IN VIOLATION OF 18 U.S.C. § 1030

       98.     Southwest repeats and realleges the allegations in the preceding paragraphs.




Original Complaint                                                                           Page 18
 Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                 Page 19 of 98 PageID 19


       99.     Southwest has suffered loss of at least five thousand dollars ($5,000) in value

during a one-year period.

       100.    Southwest’s computers, on which the Southwest Website, the Southwest Systems,

and Southwest’s fare data resides, are involved in interstate commerce and communication, and

are protected computers under 18 U.S.C. § 1030(e)(2).

       101.    Upon information and belief, Defendants have intentionally accessed and

continues to access Southwest’s computers without authorization or in excess of authorized

access, and through interstate communication, obtained information from Southwest’s computers

in violation of the Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C. § 1030(a)(2)(C).

       102.    Defendants’ unauthorized access of a protected computer has caused damage and

is continuing to cause damage to Southwest, including loss arising from the cost of responding to

and investigating Defendants’ unauthorized access, which has amounted in an aggregated loss of

at least $5,000 during a one-year period.

       103.    Defendants’ conduct has harmed and will continue to harm Southwest. As a

result, Southwest has suffered and will continue to suffer losses and irreparable injury, in

amounts not yet ascertained.

       104.    Southwest’s remedy at law is not itself adequate to compensate it for injuries

inflicted by Defendant.

       105.    Under 18 U.S.C. § 1030(g), Southwest is entitled to compensatory damages and

injunctive or other equitable relief.

                                         COUNT VI
                            VIOLATION OF TEXAS PENAL CODE § 33.02

       106.    Southwest repeats and realleges the allegations in the preceding paragraphs.




Original Complaint                                                                        Page 19
 Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                  Page 20 of 98 PageID 20


          107.   Defendants knowingly, and without Southwest’s effective consent, accessed and

continues to access Southwest’s computers, computer network or computer system.

          108.   Southwest, and its property, have been and will continue to be damaged as the

result of Defendants’ violation of the Texas Penal Code.

          109.   Pursuant to § 143.001 of the Texas Civil Practice and Remedies Code,

Defendants’ knowing and intentional violation of Texas Penal Code § 33.02 makes Defendants

liable for the harmful access of the Southwest Website and/or Southwest Systems.

          110.   Southwest has suffered and will continue to suffer irreparable harm, and its

remedy at law is not itself adequate to compensate it for injuries inflicted by Southwest.

Accordingly, Southwest is entitled to injunctive relief and damages.

                                        ATTORNEYS’ FEES

          111.   Southwest has been required to retain the services of the undersigned attorneys in

the prosecution of this claim. Pursuant to Sections 38.001 and 143.002 of the Texas Civil

Practice and Remedies Code, Southwest seeks to recover its reasonable attorneys’ fees and costs

necessarily expended in prosecuting this matter.

                                      EXEMPLARY DAMAGES

          112.   Defendants’ misconduct, described above, has been willful, intentional, and

malicious, and Southwest seeks exemplary damages.

                                       PRAYER FOR RELIEF

          For these reasons, Southwest respectfully requests that this Court grant the following

relief:

          a.     Adjudge that Defendants have breached the express terms of Southwest’s

                 Use Agreement regarding use of the Southwest Website;




Original Complaint                                                                          Page 20
 Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                 Page 21 of 98 PageID 21


       b.      Adjudge that Defendants have induced other users to breach their contract

               with Southwest for use of the Southwest Website;

       c.      Adjudge that Defendants have violated 18 U.S.C. § 1030;

       d.      Adjudge that Defendants have violated 15 U.S.C. § 1125(c);

       e.      Adjudge that Defendants have intentionally violated § 33.02 of the Texas

               Penal Code, rendering them liable under § 143.001 of the Texas Civil

               Practice and Remedies Code;

       f.      Issue permanent injunctive relief against Defendants, that it and its officers,

               agents, representative, servants, employees, attorneys, successors, assigns,

               and any and all others in active concert or participating with it, be enjoined

               from:

               i.      using the Southwest Website or any Southwest website for the purpose of

                       checking fares for Southwest customers in violation of the Use

                       Agreement;

               ii.     accessing the Southwest Website and/or Southwest Systems in violation of

                       18 U.S.C. 8 1030;

               iii.    breaching or inducing others to breach of any of the terms and conditions

                       in the Use Agreement for the Southwest Website, Southwest Systems, or

                       any other website owned, operated by, or affiliated with Southwest;

               iv.     accessing, without effective consent, the Southwest System or computer

                       network in violation of Section 33.02 of the Texas Penal Code; and




Original Complaint                                                                           Page 21
 Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                   Page 22 of 98 PageID 22


               v.     assisting, aiding, or abetting any other person or business entity in

                      engaging in or performing any of the activities referred to in

                      subparagraphs (i) through (iv) above.

       g.      Award Southwest damages as a result of Defendant breaching its contract

               with Southwest for use of the Southwest Website and/or Southwest Systems;

       h.      Award Southwest damages as a result of Defendants inducing other users to

               breach their contract in the Use Agreement with Southwest for use of the

               Southwest Website and/or Southwest Systems

       i.      Award Southwest damages as a result of Defendants’ unauthorized access of

               Southwest’s computer system in violation of 18 U. S.C. § 1030

       j.      Award Southwest damages as a result of Defendants’ violation(s) of § 33.02

               of the Texas Penal Code;

       k.      Award Southwest damages and Defendants’ profits pursuant to Texas

               common law for breach of contract;

       l.      Award Southwest damages in an amount adequate to compensate Southwest

               for Defendants’ illegal conduct;

       m.      Award Southwest both the costs of this action and the reasonably attorneys’

               fees incurred by it in prosecuting this action; and

       n.      Award such other relief as the Court may deem appropriate and just under the

               circumstances.




Original Complaint                                                                      Page 22
 Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18     Page 23 of 98 PageID 23



Dated: January 5, 2018                  POLSINELLI PC

                                        By: /s/Michael D. Pegues
                                        Michael D. Pegues
                                        attorney-in-charge
                                        Texas Bar No.: 15730600

                                        POLSINELLI, PC
                                        2950 N. Harwood Street, Suite 2100
                                        Dallas, Texas 75201
                                        (214) 661-5587

                                        Richard Juang
                                        POLSINELLI PC
                                        100 S. Fourth Street, Suite 1000
                                        St. Louis, MO 63102
                                        Phone: (314) 622-6621

                                        ATTORNEYS FOR PLAINTIFF
                                        SOUTHWEST AIRLINES COMPANY




Original Complaint                                                           Page 23
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 24 of 98 PageID 24




                 EXHIBIT A
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                    Page 25 of 98 PageID 25




     Int. Cl.: 39

     Prior U.S. CL: 105
                                                                     Reg. No. 1,738,670
     United States Patent and Trademark Office                         Registered Dec. 8, 1992


                                    SERVICE MARK
                                 PRINCIPAL REGISTER



                               SOUTHWEST AIRLINES



     SOUTHWEST AIRLINES CO. (TEXAS CORPO-          OWNER OF U.S. REG. NOS. 1,230,381 AND
       RATION)                                  1,486,485.
     8008 AVIATION PLACE                           NO CLAIM IS MADE TO THE EXCLUSIVE
     LOVE FIELD, DALLAS, TX 75235               RIGHT TO USE "AIRLINES", APART FROM
                                                THE MARK AS SHOWN.
       FOR: TRANSPORTATION SERVICES;               SEC. 2(F).
     NAMELY, TRANSPORTATION OF CARGO
     AND PASSENGERS BY AIR, IN CLASS 39 (U.S.    SER. NO. 74-219,135, FILED 11-5-1991.
     CL. 105).
       FIRST USE 6-8-1971; IN COMMERCE          AMOS T. MATTHEWS, JR., EXAMINING AT.
     2-7-1980.                                   TORNEY
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 26 of 98 PageID 26




                 EXHIBIT B
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                           Page 27 of 98 PageID 27




     Int. Cl.: 39
     Prior U.S. Cls.: 100 and 105
                                                                             Reg. No. 3,129,737
     United States Patent and Trademark Office                                 Registered Aug. 15, 2006


                                        SERVICE MARK
                                       PRINCIPAL REGISTER




                                SOUTHWEST
     SOUTHWEST AIRLINES CO, (TEXAS CORPORA-            THE MARK CONSISTS OF STANDARD CHAR-
       TION)                                         ACTERS WITHOUT CLAIM TO ANY PARTICULAR
                                                     FONT, STYLE, SIZE, OR COLOR,
     2702 LOVE FIELD DRIVE
     DALLAS, TX 75235                                 OWNER OF U.S. REG. NOS. 1,230,381, 2.623,807
                                                     AND OTHERS.

       FOR: TRANSPORTATION OF PASSENGERS              SEC. 2(F).
     AND/OR GOODS BY AIR, IN CLASS 39 (U.S. CLS.
     100 AND 105).                                    SER. NO. 78-710,103, FILED 9-9-2005.

       FIRST USE 2-28-1985; IN COMMERCE 2-28-1985.   RICHARD A. STRASER. EXAMINING ATTORNEY
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 28 of 98 PageID 28




                 EXHIBIT C
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                                       Page 29 of 98 PageID 29




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                        SOUTHWEST CARGO

  Reg. No. 4,670,508                      ti( )1r111WEST AIRLINESCO. (TEXAS CORPORATION)
                                          I ID) 4(1C
  Registered Jan. 13, 2015                2702 LOVE FIELD DRIVE
                                          DALLAS, TX 75235
  Int. Cl.: 39
                                          FOR: AIR FREIGHT SHIPPING SERVICES; AIR TRANSPORT SERVICES; CARGO HAND-
                                          LING; DELIVERY OF GOODS BY AIR, IN CLASS 39 (U.S. CLS. 100 AND 105)
  SERVICE MARK
                                          FIRST USE 11-1-2001; IN COMMERCE 11-1-2001.
  PRINCIPAL REGISTER
                                          THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                          TICULAR FONT, STYLE, SIZE, OR COLOR.

                                          OWNER OF U.S. REG. NOS. 3,129,737, 4,027,740 AND OTHERS,

                                          NO CLAIM IS MADE. TO THE EXCLUSIVE RIGHT TO USE "CARGO", APART FROM THE
                                          MARK AS SHOWN

                                          SER. NO. 86-279,000, FILED 5-12-2014.


                                          MARK T. MULLEN, EXAMINING ATTORNEY




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   Deputy Director of the United States
     Potent onJ Trademark Office
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 30 of 98 PageID 30




                 EXHIBIT D
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                          Page 31 of 98 PageID 31




      Int. Cl.: 39
      Prior U.S. Cls.: 100 and 105
                                                                             Reg. No. 2,313,710
      United States Patent and Trademark Office                                Registered Feb. I, 2000


                                         SERVICE MARK
                                       PRINCIPAL REGISTER



                                                 SWA



       SOUTHWEST AIRLINES CO. (TEXAS CORPORA-          FIRST USE 1-1-1998; IN COMMERCE 1-1-1998.
       TION)
     2702 LOVE FIELD DRIVE                               OWNER OF U.S. REG. NOS. 1,738,670 AND
     P.O. BOX 36611                                   2,115,622.
     DALLAS, TX 75235
                                                       SER. NO. 75-566,151, FILED 10-7-1998.
       FOR: TRANSPORTATION OF PASSENGERS AND
     PARCELS BY AIR, IN CLASS 39 (U.S. CLS. 100 AND
     105).                                            PAM WILLIS, EXAMINING ATTORNEY
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 32 of 98 PageID 32




                 EXHIBIT E
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                                                          Page 33 of 98 PageID 33




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                                   Southwest Airlines Cargo

  Reg. No. 4,024,786        souniwocr AIRLINES CO. (TEXAS CORPORATION)
                            111).Q 4CIC
  Registered Sep. 13, 201 1 2702 LOVE FIELD DR.
                                                             DALLAS, TX 75235
  Int. Cl.: 39
                                                             FOR: AIR FREIGHT SHIPPING SERVICES; AIR TRANSPORT SERVICES; CARGO HAND-
                                                             LING: DELIVERY OF GOODS BYAIR, IN CLASS 39 (U.S. CLS. 100 AND 105).
  SERVICE MARK
                                                             FIRST USE 2-14-1997; IN COMMERCE 2-14-1997.
  PRINCIPAL REGISTER
                                                             THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                                             TICULAR FONT, STYLE, SIZE, OR COLOR.

                                                             OWNER OF U.S. REG. NOS. 1,738,670, 3,129,737 AND OTHERS.

                                                             NO CI.AIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "AIRLINES CARGO", APART
                                                             FROM THE MARK AS SHOWN.

                                                             SER. NO.. 85-031,580, FILED 5-6-2010.

                                                             KATHERINE CONNOLLY, EXAMINING ATTORNEY




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Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 34 of 98 PageID 34




                  EXHIBIT F
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                         Page 35 of 98 PageID 35




     Int. Cl.: 39
     Prior U.S. Cis.: 100 and 105
                                                                           Reg. No. 3,011,430
     United States Patent and Trademark Office                                Registered Nov. 1, 2005


                                       SERVICE MARK
                                      PRINCIPAL REGISTER




                                    SWABIZ

     SOUTHWEST AIRLINES CO. (TEXAS CORPORA-          THE MARK CONSISTS OF STANDARD CHAR-
        TION)                                      ACTERS WITHOUT CLAIM TO ANY PARTICULAR
     1113Q 4GC                                     FONT, STYLE, SIZE, OR COLOR.
     2702 LOVE FIELD DRIVE
     DALLAS. TX 75235                                 OWNER OF U.S. REG. NOS. 2,313,710 AND
                                                   2,623,807.
       FOR: PROVIDING INFORMATION REGARDING
     TRAVEL SERVICES, IN CLASS 39 (U.S. CLS, 100
                                                    SER. NO. 78-484,109, FILED 9-15-2004.
     AND 105).

      FIRST USE 3-1-2000; IN COMMERCE 3-1-2000.    YSA DEJESUS, EXAMINING ATTORNEY
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 36 of 98 PageID 36




                EXHIBIT G
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                                          Page 37 of 98 PageID 37




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                        SWABIZ Meetings

  Reg. No. 4,537,010                      SOUTHWEST AIRLINES CO. (TEXAS CORPORATION)
                                          ITI-X) 40C
  Registered May 27, 2014                 2702 LOVE FIELD DRIVE
                                          DALLAS, TX 75235
  Int. Cl.: 39
                                          FOR: PROVISION OF TRAVEL INFORMATION, IN CLASS 39 (U.S. CLS. 100 AND 105).

  SERVICE MARK                            FIRST USE 3-1-2013; IN COMMERCE 3-1-2013.

  PRINCIPAL REGISTER                      THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                                          TICULAR FONT, STYLE, SIZE, OR COLOR.

                                          OWNER OF U.S. REG. NOS. 3,011,430, 4,139,259, AND 4,267,012.

                                          NO CLAIM IS MADE TO THE EXCLUSIVE IUGIff 10 USE "MEETINGS", APART FROM
                                          THE MARK AS SHOWN.

                                          SER. NO. 86-075,179, FILED 9-26-2013.

                                          WILLIAM VERHOSEK, EXAMINING ATTORNEY




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   Deputy Director of the United Stales
     Patent and Trademark Office
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 38 of 98 PageID 38




                EXHIBIT H
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                                                               Page 39 of 98 PageID 39




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                                     swacargo.com
  Reg. No. 4,033,508                                              SOUTHWEST AIRLINES CO. (TEXAS CORPORATION)
                                                                  I-IDQ 4GC
  Registered Oct. 4, 2011                                         2702 LOVE FIELD DRIVE
                                                                  DALLAS, "IX 75235
  Int. CL: 39
                                                                  FOR: AIR FREIGHT SHIPPING SERVICES; AIR TRANSPORT SERVICES; CARGO HAND-
                                                                  LING; DELIVERY OF GOODS BY AIR, IN CLASS 39 (U.S. CLS. 100 AND 105).
  SERVICE MARK
                                                                  FIRST USE 2-21-1997; IN COMMERCE 2-21-1997,
  PRINCIPAL REGISTER
                                                                  THE MARK CONS1S'IS OF STANDARD CHARACTERS WITHOUT CLAIM To ANY PAR-
                                                                  TICULAR FONT, STYLE, SIZE, OR COLOR.

                                                                  OWNER OF U,S. REG. NOS. 1,738,670, 3,011,430 AND OTHERS.

                                                                  SER. NO. 85-031,652, FILED 5-6-2010.

                                                                  KATHERINE CONNOLLY, EXAMINING ATTORNEY




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Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 40 of 98 PageID 40




                  EXHIBIT I
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                     Page 41 of 98 PageID 41




     Int. CL: 39
     Prior U.S. Cls.: 100 and 105
                                                                       Reg. No. 2,623,807
     United States Patent and Trademark Office                           Registered Sep. 24, 2002


                                 SERVICE MARK
                                PRINCIPAL REGISTER




                         southwest.com

     SOUTHWEST AIRLINES CO. (TEXAS CORPORA-     FIRST USE 6-1-1997; IN COMMERCE 6-1-1997.
        TION)
     2702 LOVE FIELD DRIVE
     P.O. BOX 36611                            OWNER OF U.S. REG. NOS. 1,631,894, 1,738,670,
     DALLAS, TX 752351611                     AND 2,115,622.

       FOR: TRAVEL AGENCY SERVICES. NAMELY,     SEC. 2(F).
     MAKING RESERVATIONS AND BOOKINGS FOR
     TRANSPORTATION: PROVIDING INFORMATION
     IN THE FIELD OF TRAVEL BY MEANS OF A       SER. NO. 76-213,800, FILED 2-21-2001.
     GLOBAL COMPUTER NETWORK, IN CLASS 39
     (U.S. CLS. 100 AND 105).                 LINDA MICKLEBURGH, EXAMINING ATTORNEY
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 42 of 98 PageID 42




                  EXHIBIT J
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                            Page 43 of 98 PageID 43




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                Southwest Vacations

  Reg. No. 4,331,036          SOUTHWEST AIRLINES CO. (TEXAS CORPORATION)
                              IIDQ 4GC
  Registered May 7, 2013      2702 LOVE FIELD DRIVE
                              DALLAS, TX 75235
  Int. Cls.: 39, 41 and 43
                              FOR: TRANSPORTATION SERVICES, NAMELY, TRANSPORTATION OF PASSENGERS
                              BY A IR; TRANSPORTATION RESERVATION SERVICES; ARRANGING TRANSPORTATION
  SERVICE MARK                FOR TRAVEL; TRAVEL INFORMATION SERVICES, NAMELY, PROVIDING INFORMATION
                              FOR TRAVEL ROUTE PLANNING, TRANSPORTATION BOOKING, AND MANAGING
  PRINCIPAL REGISTER          TRANSPORTATION TRAVEL ARRANGEMENTS VIA THE INTERNET, 1N CLASS 39 (U.S.
                              CLS. 100 AND 105).

                              FIRST USE 12-1-2003; IN COMMERCE 12-1-2003.

                              FOR: PROVIDING INFORMATION ON ENTERTAINMENT', SPORTING AND CULTURAL
                              EVENTS AND VENUES, AMUSEMENT PARKS, TOURIST ATTRACTIONS, AND RECRE-
                              ATIONAL ACTIVITIES; TICKET RESERVATION AND BOOKING SERVICES FOR ENTER-
                              TAINMENT, SPORTING AND CULTURAL EVENTS AND VENUES, AMUSEMENT PARKS,
                              TOURIST ATTRACTIONS AND RECREATIONAL ACTIVITIES, IN CLASS 41 (U.S. CI.S.
                              100, 101 AND 107).

                              FIRST USE 12-1-2003; IN COMMERCE 12-1-2003.

                              FOR: PROVIDING INFORMATION ABOUT HOTELS AND TEMPORARY ACCOMMODA-
                              TIONS; MAKING HOTEL RESERVATIONS FOR OTHERS; TRAVEL INFORMATION SER-
                              VICES, NAMELY, PROVIDING INFORMATION F OR HOTH. BOOKING VIA TI1E INTERNET,
                              IN CLASS 43 (U.S. CLS. 100 AND 101).

                              FIRST USE 12-1-2003; IN COMMERCE 12-1-2003.

                              THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR-
                              TICULAR FONT, STYLE, SIZE, OR COLOR.

                      7•1 ' .) OWNER OF U.S. REG. NOS. 1,738,670, 3,129,737 AND OTHERS,
                        --;_

                              NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "VACATIONS", APART FROM
                              THE. MARK AS SHOWN.
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                 Page 44 of 98 PageID 44




       Reg. No. 4,331,036   SEC. 2(F).

                            SEW NO. 85-690,646, FILED 7-30-2012

                            CHRISIE B. KING. EXAMINING ATTORNEY




                                         Page: 2 RN 4 4,331,036
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 45 of 98 PageID 45




                 EXHIBIT K
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                                      Page 46 of 98 PageID 46




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  Reg. No. 4,770,643                SOUTI !WEST A1RL1N LS CO. (TEXAS CORPORATION)
                                    ITDQ 4GC
  Registered July 7, 2015           2702 LOVE FIELD DRIVE
                                    DALLAS, TX 75235
  Int. Cl.: 39
                                    FOR: AIR TRANSPORTATION OF PASSENGERS AND FREIGHT; AIRLINE TRANSPORT-
                                    ATION SERVICES; FREIGHT TRANSPORTATION BY AIR; TRANSPORTATION OF PAS-
  SERVICE MARK                      SENGERS AND/OR GOODS BY AIR, IN CLASS 39 (U.S. CLS. 100 AND 105).

  SUPPLEMENTAL REGISTER FIRST USE 9-9-2014; IN COMMERCE 9-9-2014.

                                    OWNER OF U.S. REG. NOS. 3,297,309, 4,256,482, AND °TITERS.

                                    THE COLOR(S) BLUE, SILVER, YELLOW, AND RED IS/ARE CLAIMED AS A FEATURE
                                    OF THE MARK.

                                    THE MARK CONSISTS OF THE COLOR BLUE ON THE FRONT AND MIDDLE BODY AND
                                    ENGINES OF THE AIRPLANE, THEN COLOR BANDS OF SILVER, YELLOW, SILVER, RED,
                                    SILVER, AND BLUE AT THE REAR OF THE AIRPLANE, AND THE COLORS YELLOW
                                    AND RED ON THE VERTICAL ENDS OF THE MAIN WINGS OF THE AIRPLANE. BLACK
                                    AND WHITE, AS THEY APPEAR IN THE MARK, REPRESENT OUTLINING AND TI-TEN
                                    ON 111E FUSELAGE, MAIN WINGS AND BACK 11012IZONTAL WINGS, AND ARE NOT A
                                    FEATURE OF THE MARK. THE MATTER SHOWN IN THE DOTTED LINES IS NOT A PART
                                    OF THE MARK AND SERVES ONLY TO SHOW THE PLACEMENT OF THE MARK.

                                    SER. NO. 86-405,968, FILED P.R. 9-25-2014; AM. S.R. 4-29-2015.

                                    WILLIAM VERHOSEK, EXAMINING ATTORNEY




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    Director of the United States
    Patent and Trademark Office
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 47 of 98 PageID 47




                 EXHIBIT L
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                               Page 48 of 98 PageID 48




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  Reg. No. 4,720,322       SOUTHWEST AIRLINES CO (TEXAS CORPORATION)
                           IIDQ 4GC
  Registered Apr. 14, 2015 2702 LOVE FIELD DRIVE
                                    DALLAS, 'IX 75235
  Int. Cl.: 39
                                    FOR: AIR TRANSPORTATION OF PASSENGERS AND FREIGHT; AIR TRANSPORTATION
                                    SERVICES FEATURING A FREQUENT FLYER BONUS PROGRAM; AIRLINE TRANSPORT-
  SERVICE MARK                      ATION SERVICES; DELIVERY OF GOODS BY AIR; FREicur TRANSPORTATION BY AIR;
                                    MAKING RESERVATIONS AND BOOKINGS FOR TRANSPORTATION; MAKING TRANS-
  PRINCIPAL REGISTER                PORTATION BOOKINGS AND RESERVATIONS FOR OTHERS BY MEANS OF A WEBSITE;
                                    ON-LINE TRANSPORTATION RESERVATION AND TRAVEL TICKET RESERVATION
                                    SERVICES; ONLINE TRANSPORTATION RESERVATION SERVICES; PROVIDING A
                                    WEBSITE FEATURING INFORMATION IN THE FIELD OF AIR TRANSPORTATION;
                                    PROVIDING AUTOMATED CHECK-IN AND TICKETING SERVICES FOR AIR TRAVELERS;
                                    TRANSPORT BY AIRCRAFT; TRANSPORT BY AIR; TRANSPORT OF PASSENGERS;
                                    TRANSPORT OF PERSONS AND GOODS; TRANSPORTATION OF PASSENGERS AND/OR
                                    GOODS BY AIR; TRAVEL AGENCY SERVICES, NAMELY, MAKING RESERVATIONS
                                    AND BOOKINGS FOR TRANSPORT/U.10N, IN CLASS 39 (U.S. CLS. 100 AND 105).

                                    FIRST USE 9-8-2014; IN COMMERCE 9-8-2014-

                                    THE MARK CONSISTS OF A YLIZED SILVER HEARFWITIIBLUE, RED, AND YELLOW
                                    BANDS RUNNING DIAGONALLY STARTING FROM THE TOP LEFT,

                                    THE COLOR(S) SILVER, BLUE, RED, AND YELLOW IS/ARE CLAIMED AS A FEATURE
                                    OF THE MARK.

                                    SER. NO. 86-388,063, FILED 9-8-2014.

                                    JOHN GARTNER, EXAMINING ATTORNEY




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    Director of the United States
    Patent and Trademark Office
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 49 of 98 PageID 49




                EXHIBIT M
  Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                                 Page 50 of 98 PageID 50




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                                Southwest"
Reg. No. 5,149,729              Southwest Airlines Co. (TEXAS CORPORATION)
                                2702 Love Field Drive
Registered Feb. 28, 2017        HDQ 4GC
                                Dallas, TX 75235
Int. Cl.: 39, 41, 43            CLASS 39: Air transportation of passengers and freight; air transportation services featuring a
                                frequent flyer bonus program; airline transportation services; delivery of goods by air; freight
Service Mark                    transportation by air; making reservations and bookings for transportation; making
                                transportation bookings and reservations for others by means of a website; online
Principal Register              transportation reservation and travel ticket reservation services; online transportation
                                reservation services; providing a website featuring information in the field of air
                                transportation; providing automated check-in and ticketing services for air travelers; transport
                                by aircraft; transport by air; transport of passengers; transport of persons and goods;
                                transportation of passengers and/or goods by air; travel agency services, namely, making
                                reservations and bookings for transportation

                                FIRST USE 9-8-2014; IN COMMERCE 9-8-2014

                                CLASS 41: Providing information on entertainment, sporting, and cultural events and venues,
                                amusements parks, tourist attractions, and recreational activities; ticket reservation and
                                booking services for entertainment, sporting, and cultural events and venues, amusement
                                parks, tourist attractions, and recreational services

                                FIRST USE 9-8-2014; IN COMMERCE 9-8-2014

                                CLASS 43: Making hotel reservations for others; providing a website featuring information
                                in the field of hotels and temporary accommodations for travelers; providing personalized
                                information about hotels and temporary accommodations for travel via the Internet

                                FIRST USE 9-8-2014; IN COMMERCE 9-8-2014

                                The color(s) blue, silver, red and yellow is/are claimed as a feature of the mark.

                                The mark consists of the word "SOUTHWEST" in blue, positioned to the left of a stylized
                                silver heart with blue, red, and yellow bands running diagonally starting from the top right.

                                OWNER OF U.S. REG. NO. 2623807, 4266623, 3129737

                                SEC.2(F)

                                SER. NO. 87-052,854, FILED 05-27-2016
                                JESSIC ELLINGER FATHY. EXAMINING ATTORNEY

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Director of the United States
Patent and Trademark Office
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 51 of 98 PageID 51




                 EXHIBIT N
12/15/2017   Case 3:18-cv-00033-G-BK Document      1 Filed 01/05/18 Page 52 of 98 PageID 52
                                       https://www.swmonkey.com/static/text/emaill.txt


  08-Nov-2017

  Dear Website Owner:

  I am an attorney for Southwest Airlines Co. ("Southwest"), and I am authorized to write this letter
  on its behalf.

  It has come to Southwest's attention that you are using Southwest's proprietary and trademarked names
  and logos in connection with your business. This is misappropriation of Southwest's property, an
  infringement upon Southwest's proprietary rights, and is confusing and misleading to Southwest's
  customers.

  This letter constitutes a demand for you, including, but not limited to, your agents, affiliates, and
  employees, to cease and desist from using, in any way, Southwest's trademarks and logos and otherwise
  using Southwest's intellectual property, proprietary images and information and advertising without
  Southwest's express written consent ("Cease and Desist").

  http://swmonkey.com/

  In light of the foregoing, please be advised that should you fail to immediately Cease and Desist,
  Southwest will vigorously pursue all remedies and actions available, including, but not limited to,
  injunctive relief, and Southwest will seek recoupment of all expenses associated with such actions,
  including attorneys' fees and costs. Of course, Southwest would prefer to not be forced to take such
  measures, however, if it is so compelled, then Southwest will protect its interests to the fullest
  extent of the law. Finally, please be advised that Southwest will continue to monitor such improper
  activities, and if you continue, in any way, to use Southwest's intellectual property, Southwest will
  immediately institute all legal remedies available to it.

  Within seven (7) days of receipt of this letter, kindly confirm by written correspondence that you
  will immediately Cease and Desist, and will otherwise fully comply with the demands made herein.
  Please let me know if you have any questions and kindly direct any future communications regarding
  this matter to my attention.




  Regards,




  SOUTHWEST AIRLINES CO.

  Meredith Henchey
  Senior Attorney




https://www swmonkey.com/static/text/emaill.txt                                                         1/1
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 53 of 98 PageID 53




                 EXHIBIT 0
12/15/2017   Case 3:18-cv-00033-G-BK Document  1 Airlines
                                         Southwest Filed- Terms
                                                           01/05/18
                                                                & ConditionsPage 54 of 98 PageID 54

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  Southwest                                                                                         FLIGHT I HOTEL I CAR SPECIAL OFFERS RAPID REWARDS ® CL




   Terms & Conditions
   Last modified: April 4, 2017




   These Terms & Conditions ("Terms") set forth a legally binding agreement between you and Southwest Airlines Co. ("Southwest," "we,"
   or "us"), and govern your use of and access to www.souttiviest.com, www.swabiz.com, and any other websites, mobile and other
   applications, or services that post a link to these Terms (each individually a "Site" and collectively, the "Sites") and the information,
   features, content, arid services that we own, control, or make available through the Sites (collectively, with the Sites, the "Service")
   whether as a guest or a registered user.

   By using the Service or by clicking accept or agree to these Terms when this option is made available to you, you accept these Terms
   and the Service's Privacy Policy, and consent to the collection and use of your data in accordance with the Privacy Policy. The Terms
   may be revised and updated by us from time to time without notice to you. All changes are effective immediately when we post them.
   Your continued use of the Sites is your acceptance of the revised and updated Terms. You can review the most current version of the
   Terms & Conditions agreement at any time at httm//www.southweSt.COM/html/about-5outhweSt/terms-and-conditions/Index,html. If
   you do not agree to any of these Terms, please do not use or access our Service.

   In some instances, both these Terms and separate terms and conditions will apply, including without limitation, transportation of
   passengers, baggage, and cargo by Southwest Airlines® and its affiliates Is subject to the terms & conditions contained In Southwest's
   Ecatturaffarlsigg, terms and conditions printed on or In a ticket jacket or an e-Ticket receipt, In any published schedule, or any
   other separate terms (collectively "Additional Terms"). By using the Service, purchasing a ticket, or accepting transportation, you
   agrees to be bound by such Additional Terms. To the extent there is a conflict between these Terms and any Additional Terms, the
   Additional Terms will control unless they expressly state otherwise.

   The Service is offered and available to Individuals who are 13 years of age or older. By using the Service, you represent and warrant
   that you are 13 years of age or older. If you do not meet this requirement, you must not access or use the Service and should not send
   any information about yourself to us through the Service.


   Ownership of Company Information
   Information and materials concerning Southwest and its products and services, and similar items from our licensors and other third
   parties, including flight schedules, routes, fares, text, graphics, button icons, layout, databases, articles, posts, text, data, files, images,
   scripts, designs, instructions, illustrations, photographs, sounds, pictures, advertising copy, URLs, technology, software, interactive
   features, the "look and feel" of the Sites, audio and video clips, digital downloads, data compilations (including customer and Rapid
   Rewards® information), the compilation, assembly, and arrangement of the materials of the Sites, all copyrightable materials,
   trademarks, logos, trade names, trade dress, service marks, and trade identities of various parties, including those of Southwest, and
   other forms of intellectual property, and information regarding the status of Southwest flights, etc. is referred to as "Company
   Information." All right, title, and Interest in and to the Service and the Company Information is the property of Southwest or our
   licensors or certain other third parties, and is protected by U.S. and international copyright, trademark, trade dress, patent and/or other
   intellectual property and unfair competition rights and laws to the fullest extent possible. Southwest owns all copyrights, trademarks,
   service marks, and trade names related to our Company Information. All Company Information Is proprietary to Southwest Airlines.

   Subject to your strict compliance with these Terms and the Additional Terms, Southwest grants you a limited, non-exclusive, revocable,
   non-assignable, personal, and non-transferable license to download, display, view, use, play the Company Information on a personal
   computer, browser, laptop, tablet, mobile phone or other Internet-enabled device (each, a "Device") and/or print one copy of the
   Company Information as it is displayed to you, in each case for your personal, non-commercial use only.

  All rights not expressly granted to you are reserved by Southwest and its licensors and other third parties. No right or license may be
  construed, under any legal theory, by implication, estoppel, Industry custom, or otherwise. Any unauthorized use of any Confidential
  Information or the Service for any purpose is prohibited.


   Assessing the Service
   We reserve the right to withdraw or amend the Service, and any service or material we provide on the Service, in our sole discretion
   without notice. We will not be liable if for any reason all or any part of the Service is unavailable at any time or for any period. From
   time to time, we may restrict access to some parts of the Service, or the entire Service, to you.

   You are responsible for:


         Making all arrangements necessary for you to have access to the Service.

         Ensuring that all persons who access the Service through your Internet connection are aware of these Terms and comply with
         them.

         Ensuring that using our Services on mobile devices does not distract you or prevent you From obeying traffic or safety laws.

  To access the Service or some of the resources it offers, you may be asked to provide certain registration details or other information. It
  is a condition of your use of the Service that all the information you provide on the Service is correct, current and complete. You agree
  that all information you provide to register with this Service or otherwise, including but not limited to through the use of any interactive
   features on the Service, is governed by our Privacy , and you consent to all actions we take with respect to your information consistent
   with our Prlyacy

  If you choose, or are provided with, a user name, password or any other piece of information as part of our security procedures, you
  must treat such Information as confidential, and you must not disclose it to any other person or entity. You also acknowledge that your
  account is personal to you and agree not to provide any other person with access to this Service or portions of it using your user name,
  password or other security information. You agree to notify us immediately of any unauthorized access to or use of your user name or
  password or any other breach of security. You also agree to ensure that you exit from your account at the end of each session. You
  should use particular caution when accessing your account from a public or shared computer so that others are not able to view or



https://www.southwest.com/html/about-southwest/terms-and-conditions/index.html?clk=GFOOTER-BOTTOM-TC                                                            1/5
12/15/2017   Case 3:18-cv-00033-G-BK Document   1 Airlines
                                         Southwest  Filed- Terms
                                                            01/05/18
                                                                 & ConditionsPage 55 of 98 PageID 55
   record your password or other personal information. Similarly, you are responsible for protecting your confirmation codes, e-ticket
   numbers, and other record locators from unauthorized users.

   Southwest may immediately suspend or terminate the availability of the Service and Company Information, in whole or in part, to any
   individual, group, or everyone, for any reason, in Southwest' sole discretion, and without advance notice or liability. Upon suspension or
   termination of your access to the Service, or upon notice from Southwest, all rights granted to you under these Terms or any Additional
   Terms will cease Immediately, and you agree that you will immediately discontinue use of the Service. The provisions of these Terms
   and any applicable Additional Terms, which by their nature should survive your suspension or termination, will survive.


   Southwest, and its service providers are not liable for information that is inaccurate due to technical defects in software used on the
   Sites or service providers websites, whether Induced by their respective systems or by software provided by third parties.


   Restrictions and Prohibited Activities
   You agree that you will not:

   (i)     copy, display, distribute, download, license, modify, publish, re-post, reproduce, reuse, sell, transmit, or use the Service or
   Company Information to create a derivative work
   (ii)    use the Service or Company Information for any commercial purpose, with the exception of authorized Southwest travel
   agents/agencies;
   (iii)    use the Service or Company Information for any political purpose;
   (iv)     engage in any activity in connection with the Service or Company Information that is libelous, slanderous, defamatory, fraudulent,
   unlaWful, false or misleading, harmful, tortious, vulgar, invasive of another's privacy, sexually explicit, offensive, obscene, profane,
   violent, threatening, harassing, abusive, hateful, or otherwise inappropriate with respect to race, gender, sexuality, ethnicity, or other
   intrinsic characteristic;
   (v)     harvest any information from the Service;
   (vi)     copy, derive, edit, translate, decompile, reverse engineer, modify, use, or reproduced any code or source relating to the Service
   including without limitation, any service or product Southwest offers.;
   (vii)     modify, re-render, frame, mirror, truncate, add to, inject, filter or change the order of the Information contained on any page of
   the Service, including, without limitation, by any way of reproducing any web pages or Company Information on any other website
   without our express written permission;
   (viii)    interfere with the proper operation of or any security measure used by the Service;
   (ix)     infringe any Intellectual property or other right of any third party;
   (x)     use the Company Information in a manner that suggests an unauthorized association or Is beyond the scope of the limited license
   granted to you;
   (xi)     use a false email address or other identifying information, impersonate or misrepresent any person or entity, or your affiliation
   with any person or entity, or misrepresent, mislead, or omit as to the origin or source of any material
   (xii)     use the Service or any Company Information to make any speculative, fraudulent, or false reservation or any reservation In
   anticipation of demand;
   (xiii)    cause to appear any pop-up, pop-under, exit windows, expanding buttons, banners advertisement, or anything else which
   minimizes, covers, or otherwise inhibits the full display of the Service;
   (xiv)      use any deep-link, page-scrape, robot, crawl, index, spider, click spam, macro programs, Internet agent, or other automatic
   device, program, algorithm or methodology which does the same things, to use, access, copy, acquire information, generate
   impressions or clicks, input information, store Information, search, generate searches, or monitor any portion of the Service or Company
   information;
   (xv)      use the Service in any way which depletes web infrastructural resources, slows the transferring or loading of any web page, or
   interferes with the normal operation of the Sites;
   (xvi)      upload or transmit to the Service any device, software, program, or file that may damage the operation of any computer or the
   Service, including without limitation, viruses or corrupt files;
   (xvii)     disguise the origin of information transmitted to, from, or through the Service;
   (xviii)     circumvent any measures implemented by Southwest aimed at preventing violations of the Terms. You may not violate the
   restrictions in any robot exclusion header; or
   (xix)     otherwise violate these Terms or any applicable Additional Terms.

   You also agree you will not use the Service for or in connection with offering any third party product or service not authorized or
   approved by Southwest. For example, online check-in service providers may not use Southwest web pages to check-in customers online
   or attempt to obtain for them a boarding pass in any certain boarding group.

   When you use the Service or Company Information for an authorized purpose, you must include all proprietary notices without
   changing, hiding or deleting them.

   You may not engage in any conduct that is, or that Southwest deems to be, in violation of the Terms.


   Your Privacy
   The Service may allow you to submit content to us via the Service, or be means other than the Service (such as via our social media
   pages), including, but not limited to hotel reviews, ratings, photos, video, music, questions, suggestions, ideas, postings, feedback,
   biographic information, your appearance, audio tapes, digital files, images, performances, and comments ("Submissions"). All
   Submissions must be posted by someone 13 years of age or older. Terms related to your Submissions are available in our User Conient
   and ConfItact Policy. You agree that your Submissions will comply with our User content end Conduct Policy.


   License to Your Content
  You grant Southwest and its affiliates, subsidiaries, agents, licensees, successors, and assigns a nonexclusive, unrestricted,
  unconditional, unlimited, worldwide, royalty-free, assignable, fully paid-up, perpetual, transferable, Irrevocable and fully sublicensable
  right to (a) use, host, store, copy, record, reproduce, edit, enhance, improve, modify, adapt, translate, create derivative works of the
  Submissions, in whole or in part, alone or in any manner and matter or in combination with any other material, in any format or media,
  whether now existing or hereafter devised, including, but not limited to, text, data, images, photographs, illustrations, animation and
  graphics, video, audio, and all formats of computer readable electronic, magnetic, digital, laser, or optical based media, and to
  advertise, market, and promote the Submissions, (b) publicly display, publicly perform, distribute (directly or indirectly), disclose,
  transmit, publish, or broadcast the Submissions throughout the world in any media, now known or hereafter devised, and with any
  technology or devices now known or hereafter developed; and (c) use the screen name, your name, voice, likeness, and biographic
  information, whether in original or modified form, that you submit in connection with a Submission. You also irrevocably consent to our
  use and association of your name in connection with your Submissions and derivatives thereof. You agree to waive any moral rights that
  you may have in any Submissions, even if it is altered or changed in a manner not agreeable to you. To the extent not waivable, you
  irrevocably agree not to exercise such rights in a manner that interferes with any exercise of the granted rights. You understand that
  you will not receive any fees, sums, consideration, or remuneration for any of the rights granted in this Section. Our receipt of your
  Submissions is not an admission of their novelty, priority, or originality, and it does not impair our right to contest existing or future
  intellectual property rights relating to your Submissions. If you submit feedback or suggestions about our Service, we may use your
  feedback or suggestions without obligation to you.

  You further grant Southwest the right to pursue at law any person or entity that violates your or Southwest's rights in the Submissions

https://www.southwest.com/html/about-southwest/terms-and-conditions/index.html?clk=GFOOTER-BOTTOM-TC                                              2/5
12/15/2017
             Case 3:18-cv-00033-G-BK Document   1 Airlines
                                         Southwest  Filed     01/05/18
                                                           - Terms & ConditionsPage 56 of 98 PageID 56
   by a breach of these Terms. You acknowledge and agree that Submissions are not confidential.

   You are fully responsible for the content of your Submissions. We take no responsibility and assume no liability for any Submissions
   posted or submitted.


   Intellectual Property Rights
   Southwest respects the intellectual property of others, and expects those who use the Service to do the same. It is our policy, In
   appropriate circumstances and at our discretion, to disable and/or terminate the accounts of individuals who may infringe or repeatedly
   infringe the copyrights or other Intellectual property rights of Southwest and/or others.

   Southwest's policies with respect to claims by third parties that the content of the Service, including the content of any Submissions,
   infringes the copyrights owned by said third parties can be found in our Copyright Complaint Policy.


   Contacting Southwest Airlines
   For information on how to contact Southwest Airlines visit our Contact US page.


   Third-Party Content and websites; Advertisements
   The Service may contain or may Interact with third party content that is not owned, controlled or operated by Southwest (collectively,
   "Third-Party Services"). We may also host our content on Third-Party Services, Southwest neither endorses nor controls such Third-
   Party Services, AND YOU ACKNOWLEDGE AND AGREE THAT WE ARE NOT RESPONSIBLE OR LIABLE FOR THE INFORMATION, CONTENT,
   PRODUCTS, OR SERVICES ON OR AVAILABLE FROM SUCH THIRD-PARTY SERVICES, OR FOR THE RESULTS TO BE OBTAINED FROM
   USING THEM. If you choose to access any such Third Party Services, you do so at your own risk. If you navigate away from the Service
   by clicking on an unaffiliated website link, you do so at your own risk and you should be aware that these Terms no longer govern. You
   should review the applicable terms and policies, Including privacy and data gathering practices, of any website to which you navigate
   from the Service or relating to any applications you use or install from another website.


   Dealings with Third Parties
   Any interactions, transactions, and other dealings that you have with any third parties found on or through the Service are solely
   between you and the third party. YOU HEREBY AGREE TO INDEMNIFY SOUTHWEST AGAINST ALL CLAIMS, INJURY AND/OR DAMAGES
   INCLUDING ATTORNEYS' FEES THAT ARISE OUT OF YOUR USE OF ANY THIRD-PARTY SERVICE, INCLUDING FROM ANY MATERIAL THAT
   YOU POST ON ANY FORUM OR SOCIAL NETWORKING WEBSITE IN CONNECTION WITH US AND/OR ANY OTHER CLAIM RELATED TO
   YOUR USE OF SOCIAL MEDIA.


   Wireless Features and Communications
   The Service may offer features that are available to you via your wireless Device Including the ability to access the Service's features,
   upload content to the Service, and receive messages from the Service (including email notifications) (collectively, "Wireless Features").
   By using the Service, you agree that Southwest may change, alter, or modify the settings or configurations on your Device in order to
   allow for or optimize your use of the Service. You agree that as to the Wireless Features for which you are registered for, we may send
   communications via such features or apps to your wireless Device regarding us or other parties. Further, we may collect information
   related to your use of the Wireless Features. If you have registered via the Service for Wireless Features, then you agree to notify
   Southwest of any changes to your wireless contact information (including phone number) and update your accounts on the Service to
   reflect the changes. If the Service includes push notifications or other mobile communication capability, you hereby approve our
   delivery of electronic communications directly to your mobile Device. These notifications, including badge, alert or pop-up messages,
   may be delivered to your Device even when it is running in the background. You may have the ability, and it Is your responsibility, to
   control the notifications you do, or do not, receive via your Device through your Device settings. Standard message, data and other
   fees may be charged by your carrier, and carriers may deduct charges from pre-paid amounts or data allowances, for which you are
   responsible. Your carrier may prohibit or restrict certain Wireless Features and certain Wireless Features may be incompatible with your
   carrier or wireless Device. Contact your carrier with questions regarding these issues,


   Location-Based Features
   If you have enabled GPS, geo-location or other location-based features on any Southwest mobile app(s) or feature(s), you acknowledge
   that your Device location will be tracked and may be shared with others consistent with the Privacy Policy. Some mobile app(s) or
   feature(s) allow for you to disable location-based features or manage preferences related to them. You can also uninstall any Southwest
   mobile app(s). The location-based services offered in connection with our mobile app(s) or feature(s) are for Individual use only and
   should not be used or relied on as an emergency locator system, used while driving or operating vehicles, or used in connection with
   any hazardous environments requiring fail-safe performance, or any other situation in which the failure or inaccuracy of use of the
   location-based services could lead directly to death, personal injury, or severe physical or property damage. Location-based/geo-
   location services are used at your own risk and location data may not be accurate.


   Forum Selection
   These Terms and the relationship between you and Southwest shall be governed by the laws of the State of Texas without
   regard to any conflict of law provisions. You agree to the personal and exclusive jurisdiction of the courts located within
   Dallas, TX. You hereby consent to the exclusive jurisdiction and venue of the State and Federal courts in Dallas, Texas in
   all disputes. You agree and understand that you will not bring against the Southwest Parties any class action lawsuit
   related to your access to, dealings with, or use of the Service.


   Disclaimer of Representations and Warranties
  THE SERVICE IS PROVIDED TO YOU ON AN "AS IS," "AS AVAILABLE," AND "WITH ALL FAULTS" BASIS. NEITHER SOUTHWEST OR ITS
  AFFILIATES NOR ANY OF THEIR RESPECTIVE OFFICERS, DIRECTORS, MANAGERS, EMPLOYEES OR AGENTS (COLLECTIVELY, THE
  "SOUTHWEST PARTIES") MAKE ANY REPRESENTATIONS, WARRANTIES OR ENDORSEMENTS OF ANY KIND WHATSOEVER AS TO THE
  INFORMATION, CONTENT OR OTHER SERVICES, WHETHER EXPRESS OR IMPLIED, STATUTORY OR OTHERWISE, OR ARISING FROM
  COURSE OF DEALING, COURSE OF PERFORMANCE OR USAGE OF TRADE, INCLUDING THE IMPLIED WARRANTIES OF TITLE, NON-
  INFRINGEMENT, MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, QUIET ENJOYMENT AND FREEDOM FROM COMPUTER
  VIRUS OR OTHER TECHNOLOGICALLY HARMFUL MATERIAL. BY ACCESSING OR USING THE SERVICES YOU REPRESENT AND WARRANT
  THAT YOUR ACTIVITIES ARE LAWFUL IN EVERY JURISDICTION WHERE YOU ACCESS OR USE THE SERVICE.

  SOUTHWEST HEREBY DISCLAIMS ALL WARRANTIES OF ANY KIND, WHETHER EXPRESS OR IMPLIED, STATUTORY OR OTHERWISE,
  INCLUDING BUT NOT LIMITED TO ANY WARRANTIES OF MERCHANTABILITY, NON-INFRINGEMENT AND FITNESS FOR PARTICULAR
  PURPOSE.

  THE FOREGOING DOES NOT AFFECT ANY WARRANTIES WHICH CANNOT BE EXCLUDED OR LIMITED UNDER APPLICABLE LAW.




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12/15/2017
             Case 3:18-cv-00033-G-BK Document   1 Filed 01/05/18 Page 57 of 98 PageID 57
                                         Southwest Airlines - Terms & Conditions

   Limitations of Our Liability
   TO THE MAXIMUM EXTENT PERMITTED BY LAW, IN NO EVENT SHALL THE SOUTHWEST PARTIES BE LIABLE TO YOU FOR ANY LOSS,
   DAMAGE OR INJURY OF ANY KIND INCLUDING ANY DIRECT, INDIRECT, SPECIAL, INCIDENTAL, EXEMPLARY, CONSEQUENTIAL OR
   PUNITIVE LOSSES OR DAMAGES, OR DAMAGES FOR SYSTEM FAILURE OR MALFUNCTION OR LOSS OF PROFITS, DATA, USE, BUSINESS
   OR GOOD-WILL, ARISING OUT OF OR IN CONNECTION WITH (A) THE SERVICE, (B) THESE TERMS, (C) YOUR USE OF, OR INABILITY TO
   ACCESS OR USE, THE SERVICE OR ANY CONTENT AVAILABLE ON OR THROUGH THE SERVICE, OR (D) A THIRD PARTY'S
   UNAUTHORIZED ACCESS TO YOUR INFORMATION, EVEN IF SUCH DAMAGES WERE FORESEEABLE OR SOUTHWEST HAS BEEN ADVISED
   OF OR SHOULD HAVE KNOWN OF THE POSSIBILITY OF SUCH DAMAGES. IN NO EVENT WILL THE SOUTHWEST PARTIES' TOTAL
   LIABILITY TO YOU FOR ALL DAMAGES, LOSSES OR CAUSES OF ACTION ARISING OUT OF OR IN CONNECTION WITH THESE TERMS OR
   YOUR USE OF THE SERVICES EXCEED THE GREATER OF (A) THE AMOUNTS, IF ANY, PAID BY YOU TO SOUTHWEST FOR THE SERVICE
   IN THE TWELVE (12) MONTH PERIOD PRECEDING THE EVENT GIVING RISE TO YOUR CLAIM OR (B) FIFTY UNITED STATES DOLLARS
   ($50.00). THE LIMITATIONS SET FORTH IN THIS SECTION SHALL APPLY REGARDLESS OF THE FORM OF ACTION, WHETHER THE
   ASSERTED LIABILITY OR DAMAGES ARE BASED ON CONTRACT, INDEMNIFICATION, TORT, STRICT LIABILITY, STATUTE OR ANY OTHER
   LEGAL OR EQUITABLE THEORY.

   THE FOREGOING DOES NOT AFFECT ANY LIABILITY WHICH CANNOT BE EXCLUDED OR LIMITED UNDER APPLICABLE LAW.


   Waiver of Injunctive or Other Equitable Relief
   YOU AGREE THAT YOU WILL NOT BE PERMITTED TO OBTAIN AN INJUNCTION OR OTHER EQUITABLE RELIEF OF ANY KIND, SUCH AS
   ANY COURT OR OTHER ACTION THAT MAY INTERFERE WITH OR PREVENT THE DEVELOPMENT OR EXPLOITATION OF ANY SITE,
   WEBSITE, APPLICATION, CONTENT, SUBMISSIONS, PRODUCT, SERVICE, OR INTELLECTUAL PROPERTY OWNED, LICENSED, USED OR
   CONTROLLED BY SOUTHWEST OR A LICENSOR OF SOUTHWEST.


   Limited Time to Bring Your Claim
   You agree that regardless of any statute or law to the contrary, any claim or cause of action arising out of, related to or connected with
   the use of the Service must be filed within one (1) year after such claim or cause of action arose or be forever banned.


   Business uses of our Service
   IF YOU ARE USING THE SERVICE ON BEHALF OF A BUSINESS, THAT BUSINESS ACCEPTS THESE TERMS. THE BUSINESS WILL HOLD
   HARMLESS AND INDEMNIFY THE SOUTHWEST PARTIES FROM ANY CLAIM, SUIT OR ACTION ARISING FROM OR RELATED TO THE USE
   OF THE SERVICE OR VIOLATION OF THESE TERMS, INCLUDING ANY LIABILITY OR EXPENSE ARISING FROM CLAIMS, LOSSES,
   DAMAGES, SUITS, JUDGMENTS, LITIGATION COSTS AND ATTORNEYS' FEES.


   Purchases & Forms of Payment
   Purchases through the Services may be made via the forms of payment on our Purchasing and Refunds page or any applicable
   Additional Terms.

   You agree that (i) any transactions carried out through the Sites will be deemed to take place in the State of Texas, United States of
   America, regardless of the jurisdiction where you may be located or reside, and (ii) any payment In connection with such transactions
   will only be accepted In US dollars. You further agree and acknowledge that any advertising, promotional or marketing information that
   may be contained In any communications that you may receive as a result of your use of the Sites Is only intended to have effect and
   will only be applicable In the United States of America.


   Additional Information
   For additional Information and to learn more about Southwest Airlines, please visit our Customer Service Commitment or Contract of
   Carriaoe pages on southwest.com.


   Patents
   Some technologies, components, or progresses of the Service may be covered by Southwest Airlines Co. patents pending. In addition,
   some components or processes referenced In the Sites may be subject to one or more U.S. Patent Numbers 7,394,900; 7,707,056;
   7,734,493; 7,860,740; 7,848,944; 8,041,036; 8,050,936; 8,452,607; 8,504,402; 8,700,438; 8,788,303; D597,752; D615,779;
   D618,000; D618,473 along with all corresponding foreign counterparts.


   Consent or Approval
   No Southwest consent or approval may be deemed to have been granted by Southwest without being in writing and signed by an officer
   of Southwest.


   Indemnity
   You agree to defend, Indemnify and hold harmless the Southwest Parties from and against any and all claims, liabilities,
   damages, losses, costs and expenses (including, reasonable attorneys' fees and costs) arising out of or in connection with
   any of the following: (i) your breach or alleged breach of these Terms; (ii) your Submissions; (iii) your use of the Service;
   (iv) your violation of any laws, rules, regulations, codes, statutes, ordinances or orders of any governmental or quasi-
   governmental authorities; (v) your violation of the rights of any third party, including any intellectual property right,
   publicity, confidentiality, property or privacy right; or (vi) any misrepresentation made by you. Southwest reserves the
   right to assume, at your expense, the exclusive defense and control of any matter subject to indemnification by you. You
   agree to cooperate with Southwest's defense of any claim. You will not in any event settle any claim without the prior
   written consent of Southwest.


   Severability; Interpretation; Assignment
  If any provision of these Terms, or any Additional Terms, is for any reason deemed invalid, unlawful, void, or unenforceable, then that
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12/15/2017   Case 3:18-cv-00033-G-BK Document   1 Airlines
                                         Southwest  Filed- Terms
                                                            01/05/18
                                                                 & ConditionsPage 58 of 98 PageID 58
  Southwest reserves the right to investigate and prosecute any suspected breaches of these Terms or the Service. Southwest may
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  These Terms, and any applicable Additional Terms, reflect our complete agreement regarding the Service and supersede any prior
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  will operate as a waiver of that or any other right, power, or remedy, and (ii) no waiver or modification of any term of these Terms or
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Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 59 of 98 PageID 59




                 EXHIBIT P
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                                                             01/05/18  AirlinesPage 61 of 98 PageID 61

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Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 62 of 98 PageID 62




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 Automatic Notifications when a Southwest Flight
 Drops in Price!
 November 6, 2017 by Deals We Like                     cD 6 Comments


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   Advertiser Disclosure policy here. Additionally, some of the offers on this page may no longer be available
  through Deals We Like.


 Southwest is one of my favorite airlines since they allow you to get a difference if the price drops after you have
 booked your ticket. This is for both paid fares and flights booked with points! The process is really simple and
 takes no more then a minute or two. Here are the two scenarios on how you will get the fare difference back:


     • Paid Flight: If you paid for your flight you will receive a voucher for the difference in fare price to be used
        one year from the date the flight was originally purchased (NOT the date the change process took place).
        This voucher is non-transferable and can only be used for the same passenger the original flight was
        booked for. The voucher will be tied to the confirmation number of the original flight. There is NO fee for
        this.
     • Using Points: If you booked your flight using points, the difference in points will go back into your
        account immediately. Although, due to recent changes in Southwest's booking reservation system, I
        suggest canceling the flight (the points go straight back into your account) and then re-booking. This will
        keep your reservation refundable. I love using points for Southwest flights!


While this is a huge perk with Southwest (since you do not ned to worry about booking during the lowest price
ever), they will not automatically re-price your ticket for you, you will need to manually check out your
Southwest flight price on a daily basis.



http://dealswelike.boardingarea.com/2017/11/06/automatic-notifications-southwest-flight-drops-price/                              1/10
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 manually change/rebook your flight to save the money, Southwest Monkey will not do it for you. And since
 prices can change often, you'll want to make the update as quickly as possible to ensure to get that cheaper
 price.

 There is a charge for the service — $3 per alert, but you'll only pay IF they are able to save you $10 or more on
 your flight. The site states that they check Southwest prices daily, so the chances of you saving money is
 incredibly high, especially during a fare sale. I personally have not yet used this site yet as I actually do not
 have any Southwest sites booked at the moment (gasp!).

                          •.■ Southwest Monkey                                                         HOW R WORKS   TRY R   CONTACT US




                                            Save Money on Southwest Flights
                                                    Get alerted when your ticket price drops.
                                                                         SET UP AN ALERT




 To get full step-by-step directions on how you get your money/points back, make sure to read this post "If a
 Southwest Flight Goes Down in Price..."



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                            • Loyalty pays off — earn double rewards when you use your card to book a trip with your favorite hotel or airline.
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Comments


                     J says:
                     November 6, 2017 at 11:57 am


       This probably won't last long as WN cracks down on these types of sites/tools


       Reply.
  BpardingArea

                           S says:
                           November 6, 2017 at 6:50 pm


              That is so true. You can make your own thou..


              Reply




       Christopher says:

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       You do realize that when these sites pop up that Southwest (Legal Dept) is pretty quick about sending
       cease and desist letters the shut them down. Especially ones like this that try a different charge for
       this type of service. Mostly likely won't last the week


       Reply




              DEALS   dealswelike says:
              )
              )„LKE November 6, 2017 at 9:51 pm

              @Christopher — Yeah, I know. I did advise the owner of the site, but they still asked me if I'd
              post about it.


              Reply




                           AutoSlash says:
                           November 8, 2017 at 12:04 pm


              I think it depends on whether the author is scraping the prices using an automated process,
              or is doing it by hand. I think WN's TOS forbids any sort of scraping, but if someone were to
              hand-check the prices... Don't know how scalable that is, but it is theoretically possible.


              Reply




                     Miles says:
                     November 7, 2017 at 12:54 pm


       Dang! For the first time in living memory, I have no SWA flights scheduled.


       Maybe we need a contest, to see who can guess closest as to when the monkey site is forced down
       by SWA.


       Reply


http://dealswelike.boardingarea.com/2017/11/06/automatic-notifications-southwest-flight-drops-price/                      4/10
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 67 of 98 PageID 67




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  No More Automatic Notifications when a Southwest
  Flight Drops in Price
 November 22, 2017 by Deals We Like Q 5 Comments


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   Advertiser Disclosure policy here. Additionally, some of the offers on this page may no longer be available
   through Deals We Like.


  If you follow this blog often, you know that I am a huge Southwest fan. One of my favorite reasons for loving
  Southwest is that if a flight drops in price after you've booked your ticket, you can get the difference back! This
 is for both paid fares and flights booked with points. While this is a great perk, it requires you (the traveler) to
 check the fare price daily and re-book it — Southwest will not automatically re-price your ticket for you.


 To make the process simple, the site Southwest Monkey created a service that will do the leg work for you. I
 initially wrote about this site a few weeks ago after the creators contacted me and asked me to write about it.
 There is a $3 charge for this service to check your flight price daily and text you if your light decreases in price.
 You only pay, however, IF they are able to save you $10 or more. A win-win for everyone if you aren't one to
 constantly check for a price decrease for your upcoming flights.




 http://dealswelike.boardingarea.com/2017/11/22/no-automatic-notifications-southwest-flight-drops-price/                           1/10
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 Unfortunately, a few days after I wrote the post and the site started to receive some traction, Southwest Monkey
 received a cease and desist letter from Southwest. I am not surprised as this has happened to many other
 similar sites in the past. Even with a cease and desist they still continued with business as usual. Then a few
 days later (yesterday to be exact) they contacted me letting me know that they ultimately decided to shut down
 after meeting with a lawyer. With that being said, they still really want to make this work and will try to get
 something together that is not against Southwest's terms.


 While I personally do not understand why Southwest is so against these sites, I am not a lawyer. In my opinion,
 they are providing a service that any Southwest traveler can do themselves, there really isn't anything unethical
 about it. It is similar to the award booking services. These award booking services are able to find flight
 availability using points/miles that any traveler could find on their own (but they just might not feel like doing the
 leg work or do not even know how to go about finding availability). The information is publicly available, just like
 Southwests flight prices are publicly available. There is no loophole to finding these discounted flights, it just
requires the traveler to actually do the work. Instead of doing the work themselves, people prefer to pay a
 service to find information that is publicly available.


Information on how you get the fare difference back:

     • Paid Flight: If you paid for your flight you will receive a voucher for the difference in fare price to be used
        one year from the date the flight was originally purchased (NOT the date the change process took place).
        This voucher is non-transferable and can only be used for the same passenger the original flight was
        booked for. The voucher will be tied to the confirmation number of the original flight. There is NO fee for
        this.
     • Using Points: If you booked your flight using points, the difference in points will go back into your
       account immediately. Although, due to recent changes in Southwest's booking reservation system, I
        suggest canceling the flight (the points go straight back into your account) and then re-booking. This will
        keep your reservation refundable. I love using points for Southwest flights!


To get full step-by-step directions on how you get your money/points back, make sure to read this post "If a
Southwest Flight Goes Down in Price..."



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                            • Enjoy additional travel perks like travel insurance, waived foreign transaction fees, and airport lounge access.

                            • Terms vary by partner offer. Please see each bank's application for terms and conditions.

                            • Clicking Apply Now will take you to CreditCards.com to compare Travel Rewards cards from participating partners


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Southwest Flight Drops in Price!                    Price...                                                                         Southwest Flight Drops in Price!
November 6, 2017                                    February 28; 2014                                                                March 22, 2016
In "Southwest"                                      In "Southwest"                                                                   In "Southwest"



g Posted in Southwest
c* Tagged Southwest




                                                                                                                                                                    [




Comments


                     Jeff says:
                     November 22, 2017 at 8:09 pm


       How do you not understand why Southwest is against these sites? Really?


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       Southwest offers the ability to re-fare as a perk. And a great one it is. But if it becomes unprofitable
       because of someone else's app — which they are making money off of, btw — Southwest may not be
       able to offer that perk any longer. It's common sense that they work to put an end to it.


       This is not unlike people complaining about Southwest not tracking our TTFs for us. That is a profit
       source for them and the perk of re-faring comes with that caveat. This is a two-edged sword.


       I keep my records for TTFs religiously. And I check frequently — manually — to re-fare if possible.
       Automation for either of these will hasten the end for these perks.


       Reply




              DEALS         dealswelike says:
              = WE
               %LIKE        November 22, 2017 at 8:58 pm


              @Jeff — I see both sides. I also think that more people might book with Southwest once they
              realize that they can get their fare re-priced easily, so these types of sites might bring people
              to Southwest.


              Reply




                     dawn says:
                     November 22, 2017 at 8:57 pm


       I agree. Southwest is already good to fliers on so many levels. I am glad this site got shut down, and
       was surprised you even promoted it after a similar one got shut down not too long ago.


       Reply




              DEALS        dealswelike says:
             No.WE
              %LIKE        November 22, 2017 at 9:00 pm


              @dawn — When I found out about this site I actually told the founder that I would not promote
              it without his permission. I explained that similar sites have been shut down in the past, sent
             him direct links to those sites, and told him that within a few days of me writing it I can almost

http://dealswelike.boardingarea.com/2017/11/22/no-automatic-notifications-southwest-flight-drops-price/                       4/10
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              Reply




                     Benji says:
                     November 23, 2017 at 5:57 am

       How is it illegal anyways? What you can't access their website or something without their permission?


       Reply




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                                                                                           December



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Delta Points                                                                  Loyalty Programs 101


Frequent Miler                                                                Privacy Policy


Frugal Travel Guy                                                             Support Deals We Like


Million Mile Secrets                                                          Travel Advice


Mommy Points                                                                  Trip Reviews


Points, Miles & Martinis                                                      PR Requests


The Flight Deal                                                               About


View From a Wing
                                                                                About Jen

                                                                                                         My passion (and obsession!)
                                                                                                         for travel deals and points
                                                                                                         started over nine years ago
                                                                                                         the day I graduated college
                                                                                                         and took a job in
                                                                                                         management consulting. I'd
                                                                                                         spend every Monday through
                                                                                Thursday hotel hoping and embarking on long plane
                                                                                rides just to earn the extra points and miles. Since I
                                                                                was traveling all the time I decided that I was really
                                                                                going to take advantage of the points and miles
                                                                                game... Learn more about Jen »




http://dealswelkeboardIngareacom/2017111/22/no-automatic-nollfications-southwest-Ilight-drops-price/                                     9/10
12/15/2017   Case 3:18-cv-00033-G-BK      Document
                             No More Automatic               1 Filed
                                               Notifications when        01/05/18
                                                                  a Southwest Flight Drops Page
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                                                                                                     Deals




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Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 78 of 98 PageID 78




                 EXHIBIT S
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18             Page 79 of 98 PageID 79



 NOT GONNA FLY




 How Southwest
 Airlines kills
 startups that
 monitor its prices
 R.I.P., SWMonkey.

 Aaron Gordon
 DEC-01-2017 10:01AM EST

 About two months ago, the 27-year-old Microsoft engineer Pavel Yurevich was
 booking a flight on Southwest Airlines — something he often does when he got an
 idea. Southwest does not charge so-called change fees, which means if you book a
 flight and then the price drops, you can re-book the flight for the lower price without
 penalty. This requires checking the fares constantly, however. There has to be a
 better way, Yurevich thought, in the stereotypical entrepreneur manner.

 Yurevich called his former colleague, a coder named Chase Roberts who had
 experience building scrapers, or programs that pull data from websites. In college at
 Brigham Young University, Roberts built an app called Lunchbox that scraped the
 university's events page for key phrases like "free pizza" to alert students to events
 with free food (one student called the app "nothing but incredible" in the campus
 newspaper).

 Roberts loved the idea, but the pair wanted to see if there was a market for the
 service, for which they were hoping to charge customers $3 if the fare dropped by
 $10 or more. That's when they learned they weren't the first to have this idea.

In February 2016, Chris Lauinger, a quantitative researcher, created a tool called
Dragon Fare Scanner that scraped Southwest fares and published them in close to
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18            Page 80 of 98 PageID 80



 real time, with the added benefit of alerting you if the price dropped on a flight you
 booked. Unlike other airlines, Southwest does not allow travel websites like Kayak
 and Expedia to publish its fares, so the travel blogosphere loved it. But within a few
 days of getting press, Lauinger received a cease-and-desist letter from Southwest.
 "Given legal concerns," Lauinger wrote on his website, "the web app has been taken
 down."

 Dragon Fare Scanner wasn't even the first automated service to face the ire of
 Southwest's legal department. Around 2006 and 2007, a spate of automated check-in
 services including BoardFirst.com and LoveCheckln.org popped up, guaranteeing
 users coveted first-come, first-served A-group boarding slots. Southwest sued both
 apps and forced them to discontinue service.
 By the time Yurevich and Roberts learned about Southwest's penchant for cease-
 and-desists, they were already committed to the idea. "Maybe they [Dragon Fare
 Scanner] just got really intimidated by Southwest," Yurevich remembered thinking.
 "But we won't,"


"To put it simply, you should stop." A
cease and desist letter from Southwest's
legal department
On November 6, a travel blog called Deals We Like posted about SWMonkey under
the headline "Automatic Notifications when a Southwest Flight Drops in Price!" — an
identical headline to the one almost two years prior about Dragon Fare Scanner.
About 40 people signed up for the service, which convinced the pair the business was
viable.

Two days later, they received a cease and desist email from Southwest, which stated
that SWMonkey was "using Southwest's proprietary and trademarked names and
logos" and gave them seven days to fix it.

Yurevich and Roberts figured it was a bluff. Nowhere on their site did they use
trademarked material, and the only direct reference to the airline was, they believed,
under fair use ("save money on Southwest flights!"). Their images were all licensed
via Creative Commons. Just to be safe, they photoshopped the company's logo out of
the tail fin of one of the images and added a disclaimer at the bottom stating
"SWMonkey is not affiliated with Southwest Airlines or any of its partners in any way."
Not good enough. Two days after that, they received another cease-and-desist from a
different lawyer at Southwest. This one pertained not to intellectual property, but to
Southwest.com's terms and conditions which explicitly forbid using the information on
Southwest.com "for or in connection with offering any third party product or service
not authorized or approved by Southwest" or using any kind of automated crawler to
access the site. It also made vague references to the Computer Fraud and Abuse Act
(CFAA), the notorious anti-hacking law that has been widely panned as "the worst law
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18               Page 81 of 98 PageID 81



 in technology" due to its ridiculously broad reach. "To put it simply," the letter
 summarized, "you should stop."

 The CFAA was supposed to be about preventing "malicious hacking" but is now
 deployed to prevent competition, said Charles Duan, director of the Patent Reform
 Project at Public Knowledge. In the case Power Ventures v. Facebook, the CFAA
 prevented users from gathering their own data and leaving Facebook's platform.
 SWMonkey's situation was similar, Duan said, because "by disallowing scraping of
 prices, Southwest makes it more difficult for travelers to compare prices against other
 airlines."

 On principle, Yurevich and Roberts believed they were in the right. "We, as
 consumers, don't have the power to write our own terms and conditions and so we
 end up agreeing to whatever everyone throws at us," Roberts said, without any ability
 to stipulate what companies do with our data. But after consulting with their lawyer,
 the two entrepreneurs came to the conclusion that they were, in the end, no different
 from the other startups. If they pressed on, Southwest would file suit in Dallas, and
 the cost of flying to Texas — Yurevich is in Washington and Roberts is in Utah —
 would be just the start of the expenses they would incur. Even if they managed to
 somehow pull off the long-odds victory in court and win the right to keep their
 business active, they still didn't know for sure how profitable it would be.

 Two weeks after launching, Yurevich and Roberts put up a blog post announcing the
 end of SWMonkey. "In the couple weeks that we were on-line, we were able to save
 customers more than 43,000 points and $550 dollars, and have made $45," they
 wrote. "Because our $45 will not go very far in fighting litigation in federal court in
 Dallas, we have decided to save ourselves the headache and have shut down the
 service."

 That's one last battle they are unwilling to concede, however. Southwest is now
 demanding the founders remove the site entirely even though it is now merely a
 landing page with a short and cheeky FAQ. "Southwest has no right to decide who
 can and can't publish information on the Internet," they wrote in a blog post this week.
 On this front, at least, they stand a chance. "That's pretty remarkable," Duan said
 after reading the latest cease and desist. "Off the top of my head I can't see any
 reason why they would be required to take down the site."
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 82 of 98 PageID 82




                 EXHIBIT T
        Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                    Page 83 of 98 PageID 83


Richard Juang


From:                           James Sheppard <James.Sheppard@wnco.com >
Sent:                            Friday, November 10, 2017 3:53 PM
To:                             info@swmonkey.com
Subject:                        Cease & Desist - Southwest Airlines Legal Notice



To Whom It May Concern:

I am an Attorney in the General Counsel Department at Southwest Airlines Co. ("Southwest"). It has come to
our attention that you developed a website or application called "Southwest Monkey" that automates searches
on Southwest.com. As you may know, the use of Southwest's services and websites is governed by the Terms
and Conditions, which specifically prohibits the following activity:

           •   "[Thu will not use the Service [i.e. www.southwest.corr] for or in connection with
               offering any third party product or service not authorized or approved by Southwest."

           •   "You will not . . . use any deep-link, pare-scrape, robot, crawl, index, spider, click spam,
               macro programs, Internet agent, or other automatic device, program, algorithm or
               methodology which does the same things, to use, access, copy, acquire information,
               generate impressions or clicks, input information, store information, search, generate
               searches, or monitor any portion of the Service or Company information."

To put it simply, you should stop. To put it in more legal terms, Southwest demands that you immediately
cease and desist from (1) extracting or scraping Southwest's flight and fare information from its proprietary
servers and websites; and (2) publishing this information on the Southwest Monkey website, through related
web applications, or elsewhere.

There are at least three reasons why you should comply with this cease and desist letter.. First, as mentioned
above, the Terms and Conditions specifically prohibit activities like fare-scraping or spider programs. Second,
Southwest has successfully litigated against fare-scraping companies in cases like Southwest Airlines Co. v.
Farechase, Inc., 318 F.Supp.2d 435 (N.D. Tex. 2004). Third, fare-scraping websites or programs like
Southwest Monkey also violate federal laws such as the Computer Fraud and Abuse Act in 18 U.S.C. § 1030.

We hope you appreciate that Southwest may pursue formal legal action to recover damages for and to stop the
unauthorized use of its website. We would request that you immediately cease and desist from using
Southwest's website in violation of the Terms and Conditions.

There should also be no delay in your compliance with our demands in this letter. We would expect it done
immediately — but no later than Wednesday, November 15, 2017.


James Sheppard
Attorney — General Counsel Department
2702 Love Field Drive, HDQ-4GC
Dallas, Texas 75235-1611
(214) 792-5354
Jam es.Sheppard@wnco.com


Southwest"
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Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 84 of 98 PageID 84




                 EXHIBIT U
       Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                         Page 85 of 98 PageID 85


Richard Juang

From:                             James Sheppard <James.Sheppard@wnco.com>
Sent:                             Wednesday, November 15, 2017 4:41 PM
To:                               info@swmonkey.com
Subject:                          RE: Cease & Desist - Southwest Airlines Legal Notice



To Whom It May Concern:

We are surprised and disappointed that you continue to maintain the Southwest Monkey website in violation our
terms and conditions. Rather, based upon our research, it appears that you have continued to update and revise
the website — rather than take it down.

This is a second request that you comply with our cease and desist demand (below). We take this issue very
seriously and will pursue litigation against you and your company if you fail to comply. See, e.g., Southwest
Airlines Co. v. Farechase, Inc., 318 F.Supp.2d 435 (N.D. Tex. 2004); Southwest Airlines Co. v. Infare
Solutions, et al., Case No. 3:10-cv-01674 (N.D. Tex.); Southwest Airlines Co. v. LUVCheckin.org, et al., Case
No. 3:07-cv-1883 (N.D. Tex.); Southwest Airlines Co. v. SW Software Development, LLC, Case No. 3:12-cv-
00591 (N.D. Tex). These are just a sample of the federal lawsuits filed by Southwest in Texas to protect against
violations of its terms and conditions, among other issues. Given the legal precedent in our favor (and your
website's obvious violation), we trust that you will quickly comply with our demands — unless you wish to
litigate this issue in a Texas federal court.

Regards,

James Sheppard


From: James Sheppard
Sent: Friday, November 10, 2017 3:53 PM
To: 'info@swmonkey.com'
Subject: Cease & Desist - Southwest Airlines Legal Notice

To Whom It May Concern:

I am an Attorney in the General Counsel Department at Southwest Airlines Co. ("Southwest"). It has come to
our attention that you developed a website or application called "Southwest Monkey" that automates searches
on Southwest.com. As you may know, the use of Southwest's services and websites is governed by the Terms
and Conditions, which specifically prohibits the following activity:


            •   "[Y]ou will not use the Service [i.e. www.southwest.corn] for or in connection with
                offering any third party product or service not authorized or approved by Southwest."


            •   "You will not ... use any deep-link, pake-serape, robot, crawl, index, spider, click spam,
                macro programs, Internet agent, or other automatic device, program, algorithm or
                methodology which does the same things, to use, access, copy, acquire information,
                generate impressions or clicks, input information, store information, search, generate
                searches, or monitor any portion of the Service or Company information."
      Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18                   Page 86 of 98 PageID 86

To put it simply, you should stop. To put it in more legal terms, Southwest demands that you immediately
cease and desist from (1) extracting or scraping Southwest's flight and fare information from its proprietary
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Southwest Monkey also violate federal laws such as the Computer Fraud and Abuse Act in 18 U.S.C. § 1030.

We hope you appreciate that Southwest may pursue formal legal action to recover damages for and to stop the
unauthorized use of its website. We would request that you immediately cease and desist from using
Southwest's website in violation of the Terms and Conditions.

There should also be no delay in your compliance with our demands in this letter. We would expect it done
immediately — but no later than Wednesday, November 15, 2017.


James Sheppard
Attorney — General Counsel Department
2702 Love Field Drive, HDQ-4GC
Dallas, Texas 75235-1611
(214) 792-5354
James_Shgpriard@wnco.com


Southwest,




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Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 87 of 98 PageID 87




                 EXHIBIT V
12/1/2017   Case 3:18-cv-00033-G-BK Document     1 Filed
                                       Southwest Airlines        01/05/18
                                                          is Intimidating          Page 88 of 98 PageID 88
                                                                          our Startup.




                                     SWMonkey Updates


     Nov. 28 2017 - You can read Part II of this story here.



     Nov. 21 2017 - Update

     In the couple weeks that we were on-line, we were able to save customers more than 43,000
     points and $550 dollars, and have made $45. Southwest Airlines has sent us a number of cease
     and desist letters demanding that we shut down our website "immediately." Because our $45 will
     not go very far in fighting litigation in federal court in Dallas, our lawyer has agreed that our best
     decision is to save ourselves the headache and shut down the service. Thank you all so much for
     all the support and encouragement over the last few weeks.

     Best,
     Chase & Pavel



     Southwest Airlines is Intimidating our Startup.
     Nov. 16 2017


     A friend posed an interesting hypothetical to me once, "If libraries didn't exist? Would you be able
     to start one today?" I think we could safely answer "No", at least not without spending millions
     battling publishers in court. Such is the litigating society we live in, with companies big and small
     using the legal system to choke out the competition, or anyone else they may feel threatened by.

     Several weeks ago Pavel and I started working on SWMorikey.com . The idea is super simple,
     when your Southwest Airlines' ticket price drops, we send you an email and you can rebook your
     ticket to save whatever the difference is. It took us longer than expected, but Pavel and I threw
     toaether a landing page with a form to capture email addresses and flight details and got it on
      384          .st, we didn't even have any code written to automatically check flights; Pavel was going
      Shares

https://www.swmonkey.com/blogIcease_desist/                                                                    1/5
12/1/2017   Case 3:18-cv-00033-G-BK Document     1 Filed
                                       Southwest Airlines        01/05/18
                                                          is Intimidating          Page 89 of 98 PageID 89
                                                                          our Startup.

     to do it manually. We soon had a blog post from Deals We Like, an airline deals blog, to al:m(4111.pp
     our launch. Our first day we had 40 flights submitted to be monitored! I'm used to launching a
     service or app and only getting two or three sign-ups on the first day, so this blew my
     expectations out of the water. I was excited and overwhelmed by the positive feedback from
     everyone. One of our first users sent me this email:


                                       to SWMonkey                                                                Nov 6

                   I am totally bummed I didnt think of this. I have been checking my own flights (and family's
                   flights) everyday for the past year!


                   Sent from my iPhone



     Finding ways to optimize your life by cutting out menial tasks is the core of innovation. And
     automating something so mundane as checking your flights is no different from using a washing
     machine to wash your clothes or a bread mixer to knead dough. The last few weeks I have been
     washing dishes by hand because my dishwasher has been broken. One night, as I was scrubbing
     away, the thought came to me, "This is ridiculous. Someone should invent a robot that does this
     for me." I quickly caught myself. "They already did. It's called a dishwasher..." When I finally fixed
     my dishwasher, I had a new appreciation for the robot that washes dishes on my behalf. And it
     may not take as long to check flights as it does to do dishes, but I was thrilled to see that we were
     providing a service that makes people's lives a little easier and a little better.

     My excitement was about to run full speed into a cement wall. Two days later, we received a
     (form) email from legal@mm.southwest.com:

     Dear Website Owner:



     It has come to Southwest's attention that you are using Southwest's proprietary and

     trademarked names and logos in connection with your business. This is misappropriation

     of Southwest's property, an infringement upon Southwest's proprietary rights, and is

     confusing and misleading to Southwest's customers.



     Within seven (7) days of receipt of this letter, kindly confirm by written

     correspondence that you will immediately Cease and Desist, and will otherwise fully

     comply with the demands made herein.



      384
      Shares

https://www.swmonkey.com/blog/cease_desisV                                                                                2/5
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                                                          is Intimidating          Page 90 of 98 PageID 90
                                                                          our Startup.




     SOUTHWEST AIRLINES CO.

     Meredith Henchey

     Senior Attorney


     Link to full email.

     I opened up swrnonkey.com and looked over our landing page. We do use an image of an airplane
     that said "southwest" on the side of it. We've since removed that image. Even so, Southwest didn't
     take the picture, it was a public domain image, licensed under creative commons. Also, let's be
     real for a moment. I refuse to believe that Southwest has done any sort of independent study
     proving that my use of that particular image, if that's even what they are talking about, "is
     confusing and misleading to Southwest's customers." Their letter is also remarkably unhelpful
     when it comes to resolving any issues. They never mention where or how I am infringing on their
     trademarks or IP. Obviously, this letter is an intimidation tactic. Their goal isn't to help me comply,
     it's to get us to take down SWMonkey.

     I figure I have 7 days before I have to start thinking about this, and went back to work.

     Two days later we have flight checking mostly automated. Pavel and I are feeling really optimistic
     about progress when we receive an email from James Sheppard:

     To Whom It May Concern:
     I am an Attorney in the General Counsel Department at Southwest Airlines Co.

     ("Southwest"). It has come to our attention that you developed a website or

     application called "Southwest Monkey" that automates searches on Southwest.com. As you

     may know, the use of Southwest's services and websites is governed by the Terms and

     Conditions, which specifically prohibits the following activity:



                            "[Y]ou will not use the Service [i.e. www.southwest.com] for or in

               connection with offering any third party product or service not authorized or

               approved by Southwest."



                            "You will not . . . use any deep-link, page-scrape, robot, crawl,

               index, spider, click spam, macro programs, Internet agent, or other automatic

               device, program, algorithm or methodology which does the same things, to use,

                           copy, acquire information, generate impressions or clicks, input
      384
      Shares

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                                                                          our Startup.

               information, store information, search, generate searches, or monitor any

               portion of the Service or Company information."




     To put it simply, you should stop. To put it in more legal terms, Southwest demands

     that you immediately cease and desist from (1) extracting or scraping Southwest's

     flight and fare information from its proprietary servers and websites; and (2)

     publishing this information on the Southwest Monkey website, through related web

     applications, or elsewhere.



     There sh

     would expect it done immediately - but no later than Wednesday. November 15,

     2017.


     James Sheppard

     Attorney - General Counsel Department



     Link to full em

     I have to admit, this rattled my cage a little bit; which is the whole point, I guess. The problem I
     see with their argument is that they are making this information public. To restrict someone from
     accessing public information is a violation of our basic rights. Carl Wisoff, in a similar court case,
     addresses this same issue, "To choke off speech and the precursor of speech, the gathering of
     facts and the analysis of information, is a dangerous path down which we should not go." If
     Southwest is going to make data public, then anyone should be able to access or monitor that
     data.

     We aren't going to be intimidated by this. Everyone has a right to access public data. And we
     believe that whether you are accessing that data by typing in a URL in a web browser, through a
     CURL request, an RSS feed, a cached copy, or having someone read it to you aloud, does not
     change your right to access public data.




      384
      Shares

https://www.swmonkey.com/blog/cease_desist/                                                                   4/5
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                                                          is Intimidating          Page 92 of 98 PageID 92
                                                                          our Startup.



                                    Low fares. Nothing to hide.
                                               We're all about being open and honest with Customers
                                              and making sure pesky fees stay away from our low fares.




                                                     Yes! That's Transfarency.'


     If Southwest Airlines' Tranfarency Campaign is about being open and honest with customers and
     helping them find the lowest fares, they will stop trying to squash startups that are trying to assist
     customers in this same effort. We will continue for the time being and expect that Southwest will
     focus on helping customers find the best fares available, and so will we.



     -Chase & Pavel

     I am not a lawyer. These are all my own opinions and feelings. We have a lawyer that is looking
     into our case and will advise us on what our best course of action is.




     Read Part II




      384
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https://www.swmonkey.com/blog/cease_desist/                                                                   5/5
Case 3:18-cv-00033-G-BK Document 1 Filed 01/05/18   Page 93 of 98 PageID 93




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                                     Southwest Airlines        01/05/18
                                                        Intimidating our Startup - Page
                                                                                   Part II 94 of 98 PageID 94




                                                SWMonkey Updates




     Southwest Airlines is Intimidating our Startup -
     Part II
     Nov 28 2017


     If you haven't yet, you can read part 1 of this story herd.

     When we left off, I said we weren't ready to take down SWMonke and we believed we weren't
     doing anything wrong. But, in the end, what Pavel and I believe doesn't really matter. What matters
     is whether we have a chance at winning in court. After consulting with our lawyer, we decided it
     was unlikely that we could get around Southwest's Terms and Conditions. Terms and conditions
     can be a gray area. In order for them to be enforceable by a court, they need to be both
     reasonable and discoverable. You can't just bury some terms and conditions at the bottom of
     your site claiming, "Anyone that visits this site agrees to pay us $50," and then start demanding
     payment; that would be both unreasonable and not discoverable. Similarly, we were not aware of
     Southwest's terms and conditions when we started SWMonkey, but after receiving our second
     cease and desist letter, we could no longer claim ignorance. And although Pavel and I felt like
     their terms and conditions were unreasonable, a number of previous court rulings suggested
     otherwise. So rather than waste our time and money, we decided we would be better off to shut
     down the service and move on.

     Pavel and I were discouraged for a while, but ultimately felt it was the best thing for us to do. To
     keep our customers and followers in the loop, I updated our landing page to remove the
     submission form and replaced it with a paragraph outlining that we are shutting down:




       52
      Shares

https://www.swmonkey.com/blog/cease_desist_2/                                                                   1/5
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                                                                                      Part II 95 of 98 PageID 95



                                                   Thank You!
              In the couple weeks that we were on-line, we were able to save customers more than
              43,000 points and $550 dollars, and have made $45, Southwest Airlines has sent us a
              number of cease and desist letters demanding that we shut down our website
              *immediately," Because our $45 will not go very far in fighting litigation in federal court in
              Dallas, we have decided to save ourselves the headache and have shut down the
              service.
              Thank you all so much for all the support and encouragement over the last few weeks.


              Best,
              Chase & Pavel




     And rather than remove the FAQs, I updated some of the questions and answers with my own

     commentary:




               Frequently Asked Questions


                Is this legal?


               What are you going to do with your $45.00?


               Are you guys working on anything else?                                                   V



               So how am I going to save money on my flights now?                                       es


              Well, that's a tricky one. We did find someone who made this open source tool for
              checking your southwest flights yourself. But getting it setup does require a little bit of
              technical knowledge.




     Pavel sent out a quick email to our existing users outlining that we had to shut down for legal

     reasons and that we weren't going to sell their info to Mormon missionaries or anything. We

     received a few regretful replies from users that were very disappointed that we had to close up
       h(-)      nna user was so grateful that we saved him 11,000 points that he sent us $15 for drinks!
        52
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https://www.swmonkey.com/blog/cease_desist_2/                                                                      2/5
12/1/2017   Case 3:18-cv-00033-G-BK Document       1 isFiled
                                     Southwest Airlines        01/05/18
                                                        Intimidating our Startup - Page
                                                                                   Part II 96 of 98 PageID 96

     Pavel and I put everything behind us, used our earning to buy lunch, and started talking about the
     next project idea. We thought this was the end.

     It was not.

     On November 22nd, courtesy of James Sheppard at Southwest, we received our "Final Cease &
     Desist Letter":

     ...Southwest is surprised and disappointed that your clients are not willing to

     completely shut down the Website. It is not clear to Southwest why your clients are

     refusing to comply with our demand given the obvious legal risks here.



     ...But apparently, they have chosen to maintain a revised form of the Website which

     raises additional issues.



     ..Southwest will pursue formal legal action related to violation of it's Terms &

     Conditions unless your clients confirm in writing each of the following:



     1. Their written agreement to comply with Southwest's Terms & Conditions;

     2. Their agreement to cease operation of the Website and removal of all related

     information from the internet;

     3. Their agreement to notify travel-related websites (i.e. Travel with Grant blog or
     Travel Zork) that the Website will be removed from the internet for violation of

     Southwest's Terms and Conditions;




     We respectfully request that you provide Southwest with written confirmation related

     to the issues referenced above on or before Monday, November 27, 2017.


     Read the full cease and desist letter here.

     We could
     not scrap'
     nothing but a historical remnant of a really great service, and the links and blog posts that remain
     on our site are certainly not illegal.

     C1A/KAnnkca y    is nothing more than an informational page and Southwest just sent us a cease &
       52          er demanding that we disappear. It seems to me that Southwest's only goal here is to
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                                     Southwest Airlines         01/05/18
                                                         Intimidating our Startup - Page
                                                                                    Part II 97 of 98 PageID 97

     limit our freedom of speech, because at this point, that's literally all we have. After reading and
     rereading their letter, I can't find a single allegation with any basis. "Obvious legal risks"!? What
     obvious legal risks? We already disabled the service. They mention that the revised form of the
     site has issues, and imply that they can come after us for violating Texas criminal law,
     trespassing, civil conspiracy, and unjust enrichment. I would refute these claims by reminding
     them that not only are we not violating any Terms, we are not accessing the southwest.com
     website, and we are not even pursuing this as a commercial venture. We just felt that our users
     should know why a site that they trusted to share credit card and flight information with, has
     suddenly shut down their service.

     Southwest also makes allegations that we are infringing on their trademarks. After discussion
     with our attorney, we are confident that we are not (how could anyone looking at our web site
     think we are affiliated with Southwest?). I don't know why Southwest is so bent on us shutting
     everything down. Maybe they think that it will deter others from scraping their site? Maybe they
     don't want to appear to be the bad guys and we are tainting their image? I have no idea. But for
     some reason, shutting down the service isn't enough for these guys; they want to see SWMonkey
     eradicated from the Internet.

     Our lawyer replied to James Sheppard at Southwest today. This quote sums it up nicely:


     Given that swmonkey.com is no longer being used to offer any commercial service, we
     are perplexed as to why Southwest is insisting that the "entire website" be taken

     down. It would appear that Southwest is merely trying to use the legal system to

     curtail [swmonkey.com's] free speech rights.


     Read the full letter here.

     Southwest has no right to decide who can and can't publish information on the Internet. Until
     Southwest can be transparent with us and offer up a legitimate reason why we should not be
     allowed to host an informational website, SWMonkey, the service that no longer helps people
     save money on their flights, is not going anywhere.

     -Chase & Pavel




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                                                                                   Part II 98 of 98 PageID 98


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